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     14
                              UNITED STATES DISTRICT COURT
     15
                           SOUTHERN DISTRICT OF CALIFORNIA
     16
        TARLA MAKAEFF, et al., on Behalf of ) No. 3:10-cv-0940-GPC(WVG)
     17 Themselves and All Others Similarly      )
        Situated,                                ) CLASS ACTION
     18                                          )
                                   Plaintiffs,   ) DECLARATION OF TARLA
     19                                          ) MAKAEFF IN SUPPORT OF
               vs.                               ) SUPPLEMENTAL BRIEF
     20                                          ) REGARDING SPECIAL MOTION TO
        TRUMP UNIVERSITY, LLC, et al.,           ) STRIKE TRUMP UNIVERSITY’S
     21                                          ) COUNTERCLAIM PURSUANT TO
                                   Defendants. ) CALIFORNIA CODE OF CIVIL
     22                                          ) PROCEDURE §425.16
     23 [Caption continued on following page.]
     24
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      1 TRUMP UNIVERSITY, LLC,            )
                                          )
      2                 Counterclaimant, )
                                          )
      3       vs.                         )
                                          )
      4   TARLA MAKAEFF, et al.,          )
                                          )
      5               Counter defendants. )
                                          )
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            1        I, Tarla Makaeff, declare as follows:
            2        1.    I am one of the Plaintiffs in the above-captioned case. I submit this
            3 declaration in support of Supplemental Brief Regarding Special Motion to Strike
            4 Defendant/Counterclaimant Trump University’s Counterclaim Pursuant to California
            5 Code of Civil Procedure §425.16 (“Anti-SLAPP Motion”). The facts stated in this
            6 declaration are true and based upon my own personal knowledge and, if called to
            7 testify to them, I would competently do so.
            8        2.    Trump University’s Counterclaim (the “Counterclaim”) concerns certain
            9 portions of statements that I made (“My Excerpted Statements”). At the time I made
       10 these statements, I was under the impression that a number of business names,
       11 including Trump University, Trump University Coaching, Trump Institute, Profit
       12 Publishing Group, and Prosper, Inc., were all essentially interchangeable because they
       13 promoted one another’s programs. Because I perceived these business names as either
       14 one company or interrelated companies, throughout this Declaration, I will use the
       15 term “Trump Entities” to refer to these entities without distinguishing one from
       16 another, unless otherwise indicated.
       17            3.    The complete statements from which My Excerpted Statements were
       18 taken contain explanations for my statements. Beyond those explanations, I based My
       19 Excerpted Statements upon my own personal experiences with representatives of the
       20 Trump Entities. I spent time investigating the statements before making them. For
       21 example, I spoke to other students and reviewed students’ complaints posted online at
       22 “rip off” reports, Better Business Bureau website (“BBB”), complaintsboard.com, and
       23 pissedconsumer.com, among other possible sites. Also, some of my statements were
       24 based on my communications with the Office of the District Attorney, which advised
       25 me on or about June 18, 2009, that the use of bandit signs (a practice taught at Trump
       26 University) was illegal. See Ex. 1. I also talked to family, friends, and attorneys and
       27 did online research. None of My Excerpted Statements were, to my knowledge and
       28 recollection, inconsistent with my experiences, the grievances of other students, or

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            1 feedback from others. To the contrary, based on my investigation, I believed, and still
            2 believe, in the truth of my statements. In my July 26, 2010 Supplemental Declaration
            3 (“Supplemental Declaration”), I set forth many of the bases for My Excerpted
            4 Statements.
            5        4.     This declaration provides additional bases, but it is not intended to
            6 present an exhaustive list of all the bases for My Excerpted Statements. Although I
            7 have organized this declaration by separating My Excerpted Statements, the bases for
            8 My Excerpted Statements often overlap. Accordingly, certain explanations set forth
            9 below may apply to an Excerpted Statement other than the one(s) identified at the
       10 outset of each paragraph.
       11            5.     “Fraudulent business practices” and “deceptive business practices”:
       12 Trump University did not deliver on promises that it was a “university” that taught
       13 Mr. Trump’s real estate secrets. I thought I’d effectively learn from Trump through
       14 his world-class “handpicked” “professors” when in fact the instructors were high-
       15 pressured salespeople who constantly tried to sell me more programs. For example,
       16 Trump University said the 3-day seminar provided the real estate instruction we
       17 needed, but then at the 3-day seminar, said we really needed the $34,995 Gold Elite
       18 program. Even after purchasing the $34,995 program, I was subjected to constant
       19 upselling at retreats. Trump University personnel told us students to raise our credit
       20 card limits so we could invest in real estate, but then turned around and told us to buy
       21 the $34,995 Gold Elite program with that same credit.                In addition, Trump
       22 University’s James Harris pressured us into taking advantage of the “one-time” price
       23 of $34,995 for the Gold Elite – a special deal for “today only” – when in fact, it was
       24 the standard price. Further, Trump University obtained our personal financial
       25 information under the guise of helping us plan for investing, when in reality, it used
       26 the information to assess which program(s) we could afford. In addition, Trump
       27 University misrepresented the mentorship. I bought a one-year mentorship that turned
       28 out to be largely a 3-day excursion to drive around looking at properties and going to

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            1 Home Depot, which I could have done for free with a real estate agent. And, though it
            2 called itself a “university,” Trump University preyed on the vulnerabilities of students,
            3 like me, in the recession and said we needed Trump University to succeed without
            4 regard to our best interests. Trump University’s personnel made grandiose promises
            5 about what we would learn and how easy it would be to recoup the money so that the
            6 steep purchase price would be a “wash” and we would gain a significant income
            7 stream, but turned around afterwards and claimed there was no guarantee based upon
            8 the fine print.
            9         6.    “Illegal predatory high pressure tactics”: Trump University pressured
       10 students, including me, to use the new credit that we supposedly obtained in order to
       11 buy real estate instead to buy the Gold Elite program at a “one-time” price of $34,995.
       12 James Harris said we had to act immediately, saying this special deal was available for
       13 “today only,” and we could not take advantage of that “deal” after we left the seminar
       14 that day. These were false representations because, in truth, it was the standard price
       15 for the program. I understood, and still understand, that using false representations to
       16 create a false sense of urgency in order to convince someone to buy something, is
       17 illegal.
       18             7.    “Business practices are criminal”: I believed that the Trump Entities
       19 engaged in practices that were “criminal in nature” for the reasons detailed in my
       20 Bank of America Letters. I understood that the Trump Entities practices were
       21 criminal “as they fall under the Fraud statutes of all states and the Federal
       22 government.” In other words, my lay understanding was that fraud is a crime under
       23 state and federal law and thus the practices that I believed to be fraudulent (for
       24 example, those described in this Declaration), were also criminal. Also, I found out
       25 from the District Attorney that the bandit signs sales practice Trump University taught
       26 us to use was a misdemeanor in California. See Ex. 1.
       27             8.    “Clear practice of personal financial information fraud”:          Trump
       28 University obtained my and other students’ detailed personal financial information

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            1 under the guise of helping us plan for investing. But in reality, Trump University
            2 misused that information without my permission to assess which program I could
            3 afford so it could push that on me. Trump University asked for detailed information
            4 about our income, assets, and liabilities at the 3-day seminar, and one of their
            5 personnel, Tad Lignell, pulled me aside in the hallway to go over my information in
            6 detail. Trump University personnel pulled out other students to go over their financial
            7 information as well. It seemed somewhat suspicious at the time as the personnel are
            8 not financial advisors or CPAs. And after seeing my information, Tad said that the
            9 $1,500 program was not sufficient and I needed more knowledge to complete my
       10 education, so I was sold the $34,995 Gold Elite package.
       11            9.     “Illegal bait and switch”: I believed Trump University engaged in an
       12 “illegal bait and switch” by advertising that we would receive a real estate education
       13 at the 3-day seminar, but then at the 3-day seminar, they sold us the $34,995 program
       14 as what we really needed. Even after purchasing the $34,995 program, I was
       15 subjected to constant upselling at the retreats. I believed, and still believe, that these
       16 were illegal bait and switch tactics because each time, Trump University’s
       17 representatives had given me the impression that I would be purchasing a $34,995
       18 complete real estate education, but then switched to tell me that I needed more.
       19 Trump University personnel also “baited” me into increasing my credit limit
       20 supposedly for the purpose of my own real estate transactions, but then in the final
       21 hours of the 3-day seminar “switched” to persuading me and other students to use that
       22 credit to buy Trump University courses. I also thought it was a “bait and switch” that
       23 Trump University personnel said, if I spent the $34,995 on the Gold Elite program, I
       24 would make that money back quickly, but it made me go into debt instead.
       25            10.    “Brainwashing scheme” and “Brainwashing tactics”: As explained in my
       26 Supplemental Declaration, the actual quote is “I can only liken it to a brainwashing
       27 scheme.” The reason why I likened Trump University’s tactics to a brainwashing
       28 scheme is because its instructors were so effective at high-pressure sales and

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            1 manipulating me and other students into feeling like we needed Trump University to
            2 be successful and to act fast or lose the opportunity of a lifetime. Even worse, Trump
            3 University personnel manipulated us into believing that, if we didn’t take advantage of
            4 the opportunity immediately, we were flawed in some way. Also, Trump University
            5 personnel kept saying we would get certain information but then it turned out we
            6 needed to buy more and more programs to obtain that knowledge. I kept holding out
            7 hope that I would finally get what I had been promised, but I never did. I did not
            8 figure this out until much later. I was vulnerable to these tactics as I expected the best
            9 from the Trump name. It was not until after the District Attorney wrote to me and
       10 advised that I could be prosecuted and subjected to jail time for using the bandit signs
       11 that Trump University had taught me to use that I started to put the pieces together and
       12 realize the gravity of their actions. See Ex. 1.
       13             11.   “Outright fraud”: Trump University did not deliver on promises that it
       14 was a “university” that taught Mr. Trump’s real estate secrets through his
       15 “handpicked” “professors.” Trump University personnel told us students to raise our
       16 credit card limits so we could invest in real estate, but then turned around and told us
       17 to buy the $34,995 Gold Elite program with that credit. In addition, Trump
       18 University’s James Harris pressured us into taking advantage of the “one-time” price
       19 of $34,995 for the Gold Elite – a special deal for “today only” – when in fact, it was
       20 the standard price. Trump University obtained our personal financial information
       21 under the guise of helping us plan for investing, when in reality, it used the
       22 information to assess which program we could afford. In addition, Trump University
       23 misrepresented that I would receive a one-year mentorship, which I did not receive.
       24             12.   “Grand larceny”: I’m not an attorney, and I said so in my letters.
       25 However, my lay understanding of the term “grand larceny” was that it is committed
       26 when someone takes something significant (either a lot of money or something worth
       27 a lot of money) from someone else, without consent or by tricking someone to part
       28 with their money or property. I believed, and still believe, that the Trump Entities

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            1 stole thousands of dollars from me for profit based upon false promises, thus I
            2 believed that the term applied.
            3        13.    “Identity theft” and “Unsolicited taking of personal credit and trickery
            4 into opening credit cards without MY approval or understanding”: I’m not an
            5 attorney, and I said so in my letters. But my lay understanding of the term “identity
            6 theft” was that it was illegal to use one’s personal information for an unauthorized
            7 purpose, or to give one’s personal information to someone else without authorization.
            8 I believed, and still believe, that the Trump Entities gave my personal financial
            9 information to a credit card company – HSBC – so that they could qualify me for a
       10 credit card to purchase more Trump products. Specifically, when I was talking on the
       11 phone with Trump University Coaching, they were trying to sell me additional
       12 “Trump University Coaching.” When I explained that I couldn’t afford it, they told
       13 me that I didn’t have to worry about payment because I was “pre-approved” by
       14 HSBC, and Trump transferred or “hot flashed” me to HSBC, who I recall told me that
       15 I had been pre-approved for a HSBC credit card. I believed, and still believe, that
       16 Trump University Coaching shared my personal information with HSBC without my
       17 authorization, because HSBC had sufficient financial information about me to “pre-
       18 approve” me for their credit card, and I never authorized Trump to give HSBC my
       19 information. In addition, I believed that Trump University obtained my personal
       20 financial information from me under the guise of ascertaining what real estate
       21 investments would be best for me, based on my financial situation, but then it used my
       22 information for a different purpose without my permission: to assess which program I
       23 could afford so it could push that on me.
       24            14.    “Fraudulent business practices utilized for illegal material gain”: My
       25 statement to Bank of America in disputing the charges was directed at “Trump
       26 Institute/Prosper Learning, et al.,” not Trump University. That said, throughout this
       27 declaration, I have set forth examples of Trump University’s fraudulent business
       28 practices.

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            1        15.    “Felonious teachings” and “outright criminal” teachings: As I set forth in
            2 my Bank of America Letters, the basis of my statement was Trump University taught
            3 students, including myself, to post bandit signs, which is a misdemeanor potentially
            4 involving jail time in the State of California. I found this out the hard way when the
            5 District Attorney’s office wrote to me on June 18, 2009, warning that use of bandit
            6 signs was a misdemeanor, punishable by up to six months of jail time, fines and
            7 penalties per violation. See Ex. 1. As a result, I had to hire a criminal defense
            8 attorney. In addition, based upon research, I believed that Trump University was
            9 teaching me and other students other illegal practices, such as acting as a real estate
       10 broker or agent without a license. See Ex. 2.
       11            16.    “Neurolingistic programming and high pressure sales tactics based on the
       12 psychology of scarcity”: I understood the term “neurolinguistic programming” to
       13 mean subconscious manipulative techniques. Certainly, I believed this to be true of
       14 James Harris’ tactics. As explained above, Harris sold the Gold Elite program’s price
       15 tag of $34,995 as a “one-time offer” that would not be available the next day so I did
       16 not have enough time to think through the large purchase I was making. The
       17 instructors made me feel that I needed Trump University to be successful and to act
       18 fast or lose the opportunity of a lifetime. If we didn’t take advantage of the
       19 opportunity immediately, we were flawed in some way. Also, Trump University
       20 personnel kept saying we would get the information we needed, but then it turned out
       21 we needed to buy more and more programs to obtain that knowledge. I was
       22 vulnerable to these tactics as I expected the best from the Trump name. It was not
       23 until after the District Attorney wrote to me and advised that I could be prosecuted
       24 and subjected to jail time for using the bandit signs that I was taught to use by Trump
       25 University that I started to put the pieces together and realize the gravity of their
       26 actions. See Ex. 1. Another tactic was falsely portraying Trump University as having
       27 limited spots for only the chosen few who would join the Trump family and having
       28 the limited “one-time” offer to learn Trump’s secrets that made him a mogul, the

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           1 opportunity of a lifetime. Trump University’s tactic of telling us students to raise our
           2 credit cards and fill out financial profiles to prepare us for real estate investing, when
           3 it was really to assess how much they could upsell us and to get us credit to purchase
           4 the upsold programs, are examples of the manipulative tactics used.
           5         17.   “Unethical tactics”:     Again, I was referring to the fraudulent and
           6 deceptive practices described above, in which students like myself were encouraged to
           7 raise our credit card limits and fill out financial profiles for the purpose of preparing
           8 us to invest in real estate, whereas the true purpose was to sell more Trump University
           9 programs.
      10             18.   “Gargantuan amount of misleading, fraudulent, and predatory behavior”:
      11 My conclusion was based upon my experience in observing Trump University’s
      12 practices, including persuading students to raise their credit card limits and fill out
      13 financial profiles, the hard-sell tactics, pressure of buying before the “one-time offer”
      14 expired, promises that were not kept, and the constant upselling. I believed that
      15 Trump University preyed on people, like me, who were vulnerable to their high-
      16 pressure sales tactics in the tough economy, and made to believe that we needed
      17 Trump University in order to succeed.
      18             19.   “Blatant lies”: In my Bank of America Letters, I used the phrase “blatant
      19 lie” in several contexts. The first is a reference to Trump University’s personnel
      20 misrepresenting “there were no other unhappy students,” which I knew to be false
      21 from my experience in speaking to other students at the seminars, from Trump
      22 University student Robert Vargas who emailed me on July 25, 2009, that there were
      23 “many unhappy students” at the Trump seminar he was attending in Los Angeles.
      24 (TU-MAKAEFF4583). I also knew this was false, and that there were many unhappy
      25 students from reading complaints and rip off reports posted by other students online.
      26 Further, I believed it was a “blatant lie” when Trump University said I had received a
      27 $1,500 coaching session from Troy Peterson at a seminar, as I only spoke to him for
      28 five minutes. And I believed that Tiffany Brinkman lied to me as she had assured me

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           1                            CERTIFICATE OF SERVICE
           2        I hereby certify that on February 14, 2014, I authorized the electronic filing of
           3 the foregoing with the Clerk of the Court using the CM/ECF system which will send
           4 notification of such filing to the e-mail addresses denoted on the attached Electronic
           5 Mail Notice List, and I hereby certify that I caused to be mailed the foregoing
           6 document or paper via the United States Postal Service to the non-CM/ECF
           7 participants indicated on the attached Manual Notice List.
           8        I certify under penalty of perjury under the laws of the United States of America
           9 that the foregoing is true and correct. Executed on February 14, 2014.
      10                                                  s/ Rachel L. Jensen
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Mailing Information for a Case 3:10-cv-00940-GPC-WVG
Makaeff v. Trump University, LLC et al
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                          EXHIBIT 2
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     Federal and State Statutes Where the Methods Taught and Various Products or Services Sold by
     Trump University, and its Affiliates and “Required for Success in the Program” can result in Civil,
     or Criminal Investigation negating the Indemnification Portion of any Contract and the
     Indemnification of all aforementioned parties Requiring them to Return Investment for Services
     Rendered or Inadequate Services Provided. In addition, there are several areas of the Statutes
     which Trump University, its Affiliates, Speakers and Mentors could face legal repercussions as a
     result of violating both Federal and State Law/Code.

     The so called services sold, ranging from real estate literature, mentorships, retreats, legal advice, legal
     work, by the aforementioned were inadequate or included practices which were illegal, yet considered
     necessary in order to be “successful” in the various “wealth generating programs” they were directly part
     of, agents of, affiliates of or partners of. These programs are predatory in nature and hide behind a
     serious of corporate and legal veils. Thus, it is crucial for the financially damaged person such as me to
     step forward and fight back so other consumers, banking customers and tax payers are not damaged by
     these groups. They must be stopped and the fraudulently acquired investments in these services must
     be returned.

     As a result of following the methods taught by the aforementioned parties and also identical methods
     taught by their affiliate groups, there have been investigations by various state and federal enforcement
     agencies of methods “Required” by the program for success. I ended up being contacted by an agency
     and could have been charged either as committing misdemeanor Real Estate Marketing violations or for
     civil violations. This required me to consult a criminal attorney and attend a deposition but it was quickly
     established that I was a victim of a non-accredited so called Trump University, and their affiliates,
     that use many illegal tactics to sell services, which are not of value in California (where I paid for
     the program and reside) or other states because they include many illegal methods governed by
     State, Federal, County, and the Department of Real Estate. In fact they are teaching many methods
     that are illegal across the country. Many of the techniques taught can actually result in misdemeanors or
     even felonies for both the student and also the organization thus the many current investigations of
     Trump University and its Affiliates by many different enforcement agencies from BBB’s to Federal
     Agencies across the nation. My attorney Vincent Labarbera www.labarberalaw.com can be contacted
     regarding the specific nature of these issues, however, I was never charged as it was concluded that I
     was duped by the teaching of illegal methods though I could have could have faced hundreds of
     thousands in fines and up to six months in jail. As the law clearly states, an inexperienced purchaser of a
     service is not held liable for illegal methods required by the seller to recoup an investment that is stated,
     implied or recommended by the seller. The Seller of the Service is in violation by victimizing those with
     limited knowledge of a subject and due to the fact that methods taught are illegal everywhere in California
     and other states, the services sold are not of value and a full refund must be given. Because potential
     legal violations are taught, the statute of limitations for a full refund is null and void as written in the
     contract and must be paid even if years have gone by as the programs often stretch out over years. This
     has resulted in the investigation immediately shifting towards those that are teaching these methods;
     Trump University, and their Speakers, Mentors and Affiliates. This was an emotionally, mentally,
     physically, stressful and expensive issue for me as I had to defend myself for following what was taught.
     Quickly, the investigators saw that the educators were at fault not me and the investigation was closed on
     me, but continues with departments around the country looking at these non-accredited “Real Estate” and
     “Investor Colleges” and “Wealth Generation Programs” such as the services I paid for from the
     aforementioned parties.

     If the services sold to a consumer uneducated in real estate are in many instances illegal in the state that
     they do business in if not the whole country, then the provisions of the Trump University indemnifications
     are null and void as the contract is violated by teaching methods that violate the law and therefore it
     would not be possible for the student to make money using the methods taught without breaking many
     laws. This is strictly forbidden and there is ample evidence of the laws copied below and included
     documentation.

     Bait and switch




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     California has a bait and switch law. It is part of the law BUSINESS AND PROFESSIONS CODE
     SECTION 17500-17509.

     "17500. It is unlawful for any person, firm, corporation or association, or any employee thereof with intent
     directly or indirectly to dispose of real or personal property or to perform services, professional or
     otherwise, or anything of any nature whatsoever or to induce the public to enter into any
     obligation relating thereto, to make or disseminate or cause to be made or disseminated before the public
     in this state, or to make or disseminate or cause to be made or disseminated from this state before the
     public in any state, in any newspaper or other publication, or any advertising device, or by public outcry
     or proclamation, or in any other manner or means whatever, including over the Internet, any statement,
     concerning that real or personal property or those services, professional or otherwise, or concerning any
     circumstance or matter of fact connected with the proposed performance or disposition thereof, which is
     untrue or misleading, and which is known, or which by the exercise of reasonable care should be known,
     to be untrue or misleading, or for any person, firm, or corporation to so make or disseminate or cause to
     be so made or disseminated any such statement as part of a plan or scheme with the intent not to sell
     that personal property or those services, professional or otherwise, so advertised at the price stated
     therein, or as so advertised. Any violation of the provisions of this section is a misdemeanor punishable
     by imprisonment in the county jail not exceeding six months, or by a fine not exceeding two thousand five
     hundred dollars ($2,500), or by both that imprisonment and fine."

     http://www.leginfo.ca.gov/cgi-bin/displaycode?section=bpc&group=17001-18000&file=17500-17509

     Told place in Universal City, CA.

     They did this by implying serious of $1,000+ seminars would give me the techniques to become
     educated in the investment of real estate with the promise that I would make around $10,000-
     $30,000 with the knowledge, books and support I would need to do so. In reality, they then told
     me I would need to spend over $50,000 books, seminars, legal services etc. which were ultimately
     of no use to me and in fact problematic. When they had me fill out a PERSONAL INFORMATION
     FORM OF MY PERSONAL FINANCIAL INFORMATION and then telling me AFTER THE FACT that
     the introductory $1,000+ programs were not sufficient and I needed more knowledge to complete
     the package. I paid the $50,000+ because I was guaranteed and told in person it was all I would
     need to learn the many arrays of real estate investing when in fact when I got in their "retreats" on
     each of the 5 occasions it became an infomercial of them up selling me at every corner turn
     possible. And in reality I was left without the knowledge I needed for a high investment of $50,000.
     In other words they "baited" me with a $50,000 full real estate investing education the price of a
     costly university tuition while calling themselves a university: Trump University, and then they
     "switched" their story later saying I needed to buy numerous other courses to get the full
     education. Because I did not, I did not receive the full education they promised! This group of
     affiliated entities and persons, Violated many of the California Codes and Laws listed below in
     addition to the bait and switch.




     Bandit signs laws - CA (DA-take codes from letter)

     I have included information from the Trump course, discussing public advertising methods
     including Billboards or Bandit sign laws. Though they say seek counsel to see if it is legal to do
     so in your city, it is illegal in all of CALIFORNIA to post the signs they taught me to post so why
     would they teach such tactics in a California course where I signed my contract? This is another
     instance of misleading information in which the Trump Organization and I were investigated and
     they are hot on the trail of the Trump University right now for these types of violations. As stated




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     above, it is illegal in California to enter into a contract with someone in which they will need to
     violate legal code, statutes etc. in order to benefit from the services rendered.

     CALIFORNIA CODES
     BUSINESS AND PROFESSIONS CODE
     SECTION 17200-17210




     17200. As used in this chapter, unfair competition shall mean and
     include any unlawful, unfair or fraudulent business act or practice
     and unfair, deceptive, untrue or misleading advertising and any act
     prohibited by Chapter 1 (commencing with Section 17500) of Part 3 of
     Division 7 of the Business and Professions Code.




     17201. As used in this chapter, the term person shall mean and
     include natural persons, corporations, firms, partnerships, joint
     stock companies, associations and other organizations of persons.



     17201.5. As used in this chapter:
        (a) "Board within the Department of Consumer Affairs" includes any
     commission, bureau, division, or other similarly constituted agency
     within the Department of Consumer Affairs.
        (b) "Local consumer affairs agency" means and includes any city or
     county body which primarily provides consumer protection services.



     17202. Notwithstanding Section 3369 of the Civil Code, specific or
     preventive relief may be granted to enforce a penalty, forfeiture, or
     penal law in a case of unfair competition.



     17203. Injunctive Relief--Court Orders
        Any person who engages, has engaged, or proposes to engage in
     unfair competition may be enjoined in any court of competent
     jurisdiction. The court may make such orders or judgments, including
     the appointment of a receiver, as may be necessary to prevent the use
     or employment by any person of any practice which constitutes unfair
     competition, as defined in this chapter, or as may be necessary to
     restore to any person in interest any money or property, real or
     personal, which may have been acquired by means of such unfair
     competition. Any person may pursue representative claims or relief on
     behalf of others only if the claimant meets the standing
     requirements of Section 17204 and complies with Section 382 of the
     Code of Civil Procedure, but these limitations do not apply to claims
     brought under this chapter by the Attorney General, or any district
     attorney, county counsel, city attorney, or city prosecutor in this
     state.




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     17204. Actions for Injunctions by Attorney General, District
     Attorney, County Counsel, and City Attorneys
        Actions for relief pursuant to this chapter shall be prosecuted
     exclusively in a court of competent jurisdiction by the Attorney
     General or a district attorney or by a county counsel authorized by
     agreement with the district attorney in actions involving violation
     of a county ordinance, or by a city attorney of a city having a
     population in excess of 750,000, or by a city attorney in a city and
     county or, with the consent of the district attorney, by a city
     prosecutor in a city having a full-time city prosecutor in the name
     of the people of the State of California upon their own complaint or
     upon the complaint of a board, officer, person, corporation, or
     association, or by a person who has suffered injury in fact and has
     lost money or property as a result of the unfair competition.




     17205. Unless otherwise expressly provided, the remedies or
     penalties provided by this chapter are cumulative to each other and
     to the remedies or penalties available under all other laws of this
     state.


     17206. Civil Penalty for Violation of Chapter
        (a) Any person who engages, has engaged, or proposes to engage in
     unfair competition shall be liable for a civil penalty not to exceed
     two thousand five hundred dollars ($2,500) for each violation, which
     shall be assessed and recovered in a civil action brought in the name
     of the people of the State of California by the Attorney General, by
     any district attorney, by any county counsel authorized by agreement
     with the district attorney in actions involving violation of a
     county ordinance, by any city attorney of a city having a population
     in excess of 750,000, by any city attorney of any city and county,
     or, with the consent of the district attorney, by a city prosecutor
     in any city having a full-time city prosecutor, in any court of
     competent jurisdiction.
        (b) The court shall impose a civil penalty for each violation of
     this chapter. In assessing the amount of the civil penalty, the court
     shall consider any one or more of the relevant circumstances
     presented by any of the parties to the case, including, but not
     limited to, the following: the nature and seriousness of the
     misconduct, the number of violations, the persistence of the
     misconduct, the length of time over which the misconduct occurred,
     the willfulness of the defendant's misconduct, and the defendant's
     assets, liabilities, and net worth.
        (c) If the action is brought by the Attorney General, one-half of
     the penalty collected shall be paid to the treasurer of the county in
     which the judgment was entered, and one-half to the General Fund. If
     the action is brought by a district attorney or county counsel, the
     penalty collected shall be paid to the treasurer of the county in
     which the judgment was entered. Except as provided in subdivision
     (e), if the action is brought by a city attorney or city prosecutor,
     one-half of the penalty collected shall be paid to the treasurer of




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     the city in which the judgment was entered, and one-half to the
     treasurer of the county in which the judgment was entered. The
     aforementioned funds shall be for the exclusive use by the Attorney
     General, the district attorney, the county counsel, and the city
     attorney for the enforcement of consumer protection laws.
        (d) The Unfair Competition Law Fund is hereby created as a special
     account within the General Fund in the State Treasury. The portion
     of penalties that is payable to the General Fund or to the Treasurer
     recovered by the Attorney General from an action or settlement of a
     claim made by the Attorney General pursuant to this chapter or
     Chapter 1 (commencing with Section 17500) of Part 3 shall be
     deposited into this fund. Moneys in this fund, upon appropriation by
     the Legislature, shall be used by the Attorney General to support
     investigations and prosecutions of California's consumer protection
     laws, including implementation of judgments obtained from such
     prosecutions or investigations and other activities which are in
     furtherance of this chapter or Chapter 1 (commencing with Section
     17500) of Part 3.
        (e) If the action is brought at the request of a board within the
     Department of Consumer Affairs or a local consumer affairs agency,
     the court shall determine the reasonable expenses incurred by the
     board or local agency in the investigation and prosecution of the
     action.
        Before any penalty collected is paid out pursuant to subdivision
     (c), the amount of any reasonable expenses incurred by the board
     shall be paid to the Treasurer for deposit in the special fund of the
     board described in Section 205. If the board has no such special
     fund, the moneys shall be paid to the Treasurer. The amount of any
     reasonable expenses incurred by a local consumer affairs agency shall
     be paid to the general fund of the municipality or county that funds
     the local agency.
        (f) If the action is brought by a city attorney of a city and
     county, the entire amount of the penalty collected shall be paid to
     the treasurer of the city and county in which the judgment was
     entered for the exclusive use by the city attorney for the
     enforcement of consumer protection laws. However, if the action is
     brought by a city attorney of a city and county for the purposes of
     civil enforcement pursuant to Section 17980 of the Health and Safety
     Code or Article 3 (commencing with Section 11570) of Chapter 10 of
     Division 10 of the Health and Safety Code, either the penalty
     collected shall be paid entirely to the treasurer of the city and
     county in which the judgment was entered or, upon the request of the
     city attorney, the court may order that up to one-half of the
     penalty, under court supervision and approval, be paid for the
     purpose of restoring, maintaining, or enhancing the premises that
     were the subject of the action, and that the balance of the penalty
     be paid to the treasurer of the city and county.



     17206.1. (a) (1) In addition to any liability for a civil penalty
     pursuant to Section 17206, any person who violates this chapter, and
     the act or acts of unfair competition are perpetrated against one or
     more senior citizens or disabled persons, may be liable for a civil
     penalty not to exceed two thousand five hundred dollars ($2,500) for
     each violation, which may be assessed and recovered in a civil action
     as prescribed in Section 17206.




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        (2) Subject to subdivision (d), any civil penalty shall be paid as
     prescribed by subdivisions (b) and (c) of Section 17206.
        (b) As used in this section, the following terms have the
     following meanings:
        (1) "Senior citizen" means a person who is 65 years of age or
     older.
        (2) "Disabled person" means any person who has a physical or
     mental impairment that substantially limits one or more major life
     activities.
        (A) As used in this subdivision, "physical or mental impairment"
     means any of the following:
        (i) Any physiological disorder or condition, cosmetic
     disfigurement, or anatomical loss substantially affecting one or more
     of the following body systems: neurological; musculoskeletal;
     special sense organs; respiratory, including speech organs;
     cardiovascular; reproductive; digestive; genitourinary; hemic and
     lymphatic; skin; or endocrine.
        (ii) Any mental or psychological disorder, such as mental
     retardation, organic brain syndrome, emotional or mental illness, and
     specific learning disabilities.
        "Physical or mental impairment" includes, but is not limited to,
     such diseases and conditions as orthopedic, visual, speech, and
     hearing impairment, cerebral palsy, epilepsy, muscular dystrophy,
     multiple sclerosis, cancer, heart disease, diabetes, mental
     retardation, and emotional illness.
        (B) "Major life activities" means functions such as caring for one'
     s self, performing manual tasks, walking, seeing, hearing, speaking,
     breathing, learning, and working.
        (c) In determining whether to impose a civil penalty pursuant to
     subdivision (a) and the amount thereof, the court shall consider, in
     addition to any other appropriate factors, the extent to which one or
     more of the following factors are present:
        (1) Whether the defendant knew or should have known that his or
     her conduct was directed to one or more senior citizens or disabled
     persons.
        (2) Whether the defendant's conduct caused one or more senior
     citizens or disabled persons to suffer: loss or encumbrance of a
     primary residence, principal employment, or source of income;
     substantial loss of property set aside for retirement, or for
     personal or family care and maintenance; or substantial loss of
     payments received under a pension or retirement plan or a government
     benefits program, or assets essential to the health or welfare of the
     senior citizen or disabled person.
        (3) Whether one or more senior citizens or disabled persons are
     substantially more vulnerable than other members of the public to the
     defendant's conduct because of age, poor health or infirmity,
     impaired understanding, restricted mobility, or disability, and
     actually suffered substantial physical, emotional, or economic damage
     resulting from the defendant's conduct.
        (d) Any court of competent jurisdiction hearing an action pursuant
     to this section may make orders and judgments as may be necessary to
     restore to any senior citizen or disabled person any money or
     property, real or personal, which may have been acquired by means of
     a violation of this chapter. Restitution ordered pursuant to this
     subdivision shall be given priority over recovery of any civil
     penalty designated by the court as imposed pursuant to subdivision
     (a), but shall not be given priority over any civil penalty imposed




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     pursuant to subdivision (a) of Section 17206. If the court determines
     that full restitution cannot be made to those senior citizens or
     disabled persons, either at the time of judgment or by a future date
     determined by the court, then restitution under this subdivision
     shall be made on a pro rata basis depending on the amount of loss.



     17207. (a) Any person who intentionally violates any injunction
     prohibiting unfair competition issued pursuant to Section 17203 shall
     be liable for a civil penalty not to exceed six thousand dollars
     ($6,000) for each violation. Where the conduct constituting a
     violation is of a continuing nature, each day of that conduct is a
     separate and distinct violation. In determining the amount of the
     civil penalty, the court shall consider all relevant circumstances,
     including, but not limited to, the extent of the harm caused by the
     conduct constituting a violation, the nature and persistence of that
     conduct, the length of time over which the conduct occurred, the
     assets, liabilities, and net worth of the person, whether corporate
     or individual, and any corrective action taken by the defendant.
        (b) The civil penalty prescribed by this section shall be assessed
     and recovered in a civil action brought in any county in which the
     violation occurs or where the injunction was issued in the name of
     the people of the State of California by the Attorney General or by
     any district attorney, any county counsel authorized by agreement
     with the district attorney in actions involving violation of a county
     ordinance, or any city attorney in any court of competent
     jurisdiction within his or her jurisdiction without regard to the
     county from which the original injunction was issued. An action
     brought pursuant to this section to recover civil penalties shall
     take precedence over all civil matters on the calendar of the court
     except those matters to which equal precedence on the calendar is
     granted by law.
        (c) If such an action is brought by the Attorney General, one-half
     of the penalty collected pursuant to this section shall be paid to
     the treasurer of the county in which the judgment was entered, and
     one-half to the State Treasurer. If brought by a district attorney or
     county counsel the entire amount of the penalty collected shall be
     paid to the treasurer of the county in which the judgment is entered.
     If brought by a city attorney or city prosecutor, one-half of the
     penalty shall be paid to the treasurer of the county in which the
     judgment was entered and one-half to the city, except that if the
     action was brought by a city attorney of a city and county the entire
     amount of the penalty collected shall be paid to the treasurer of
     the city and county in which the judgment is entered.
        (d) If the action is brought at the request of a board within the
     Department of Consumer Affairs or a local consumer affairs agency,
     the court shall determine the reasonable expenses incurred by the
     board or local agency in the investigation and prosecution of the
     action.
        Before any penalty collected is paid out pursuant to subdivision
     (c), the amount of the reasonable expenses incurred by the board
     shall be paid to the State Treasurer for deposit in the special fund
     of the board described in Section 205. If the board has no such
     special fund, the moneys shall be paid to the State Treasurer. The
     amount of the reasonable expenses incurred by a local consumer
     affairs agency shall be paid to the general fund of the municipality




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     or county which funds the local agency.



     17208. Any action to enforce any cause of action pursuant to this
     chapter shall be commenced within four years after the cause of
     action accrued. No cause of action barred under existing law on the
     effective date of this section shall be revived by its enactment.




     17209. If a violation of this chapter is alleged or the application
     or construction of this chapter is in issue in any proceeding in the
     Supreme Court of California, a state court of appeal, or the
     appellate division of a superior court, each person filing any brief
     or petition with the court in that proceeding shall serve, within
     three days of filing with the court, a copy of that brief or petition
     on the Attorney General, directed to the attention of the Consumer
     Law Section at a service address designated on the Attorney General's
     official Web site for service of papers under this section or, if no
     service address is designated, at the Attorney General's office in
     San Francisco, California, and on the district attorney of the county
     in which the lower court action or proceeding was originally filed.
     Upon the Attorney General's or district attorney's request, each
     person who has filed any other document, including all or a portion
     of the appellate record, with the court in addition to a brief or
     petition shall provide a copy of that document without charge to the
     Attorney General or the district attorney within five days of the
     request. The time for service may be extended by the Chief Justice or
     presiding justice or judge for good cause shown. No judgment or
     relief, temporary or permanent, shall be granted or opinion issued
     until proof of service of the brief or petition on the Attorney
     General and district attorney is filed with the court.



     17210. (a) For purposes of this section, "hotel" means any hotel,
     motel, bed and breakfast inn, or other similar transient lodging
     establishment, but it does not include any residential hotel as
     defined in Section 50519 of the Health and Safety Code. "Innkeeper"
     means the owner or operator of a hotel, or the duly authorized agent
     or employee of the owner or operator.
        (b) For purposes of this section, "handbill" means, and is
     specifically limited to, any tangible commercial solicitation to
     guests of the hotel urging that they patronize any commercial
     enterprise.
        (c) Every person (hereinafter "distributor") engages in unfair
     competition for purposes of this chapter who deposits, places,
     throws, scatters, casts, or otherwise distributes any handbill to any
     individual guest rooms in any hotel, including, but not limited to,
     placing, throwing, leaving, or attaching any handbill adjacent to,
     upon, or underneath any guest room door, doorknob, or guest room
     entryway, where either the innkeeper has expressed objection to
     handbill distribution, either orally to the distributor or by the
     posting of a sign or other notice in a conspicuous place within the
     lobby area and at all points of access from the exterior of the




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     premises to guest room areas indicating that handbill distribution is
     prohibited, or the distributor has received written notice pursuant
     to subdivision (e) that the innkeeper has expressed objection to the
     distribution of handbills to guest rooms in the hotel.
        (d) Every person (hereinafter "contractor") engages in unfair
     competition for purposes of this chapter who causes or directs any
     other person, firm, business, or entity to distribute, or cause the
     distribution of, any handbill to any individual guest rooms in any
     hotel in violation of subdivision (c) of this section, if the
     contractor has received written notice from the innkeeper objecting
     to the distribution of handbills to individual guest rooms in the
     hotel.
        (e) Every contractor who causes or directs any distributor to
     distribute, or cause the distribution of, any handbills to any
     individual guest rooms in any hotel, if the contractor has received
     written notice from the innkeeper or from any other contractor or
     intermediary pursuant to this subdivision, objecting to the
     distribution of handbills to individual guest rooms in the hotel has
     failed to provide a written copy of that notice to each distributor
     prior to the commencement of distribution of handbills by the
     distributor or by any person hired or retained by the distributor for
     that purpose, or, within 24 hours following the receipt of the
     notice by the contractor if received after the commencement of
     distribution, and has failed to instruct and demand any distributor
     to not distribute, or to cease the distribution of, the handbills to
     individual guest rooms in any hotel for which such a notice has been
     received is in violation of this section.
        (f) Any written notice given, or caused to be given, by the
     innkeeper pursuant to or required by any provision of this section
     shall be deemed to be in full force and effect until such time as the
     notice is revoked in writing.
        (g) Nothing in this section shall be deemed to prohibit the
     distribution of a handbill to guest rooms in any hotel where the
     distribution has been requested or approved in writing by the
     innkeeper, or to any individual guest room when the occupant thereof
     has affirmatively requested or approved the distribution of the
     handbill during the duration of the guest's occupancy.

     CALIFORNIA CODES
     PENAL CODE
     SECTION 556-556.4




     556. It is a misdemeanor for any person to place or maintain, or
     cause to be placed or maintained without lawful permission upon any
     property of the State, or of a city or of a county, any sign,
     picture, transparency, advertisement, or mechanical device which is
     used for the purpose of advertising or which advertises or brings to
     notice any person, article of merchandise, business or profession, or
     anything that is to be or has been sold, bartered, or given away.



     556.1. It is a misdemeanor for any person to place or maintain or
     cause to be placed or maintained upon any property in which he has no




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     estate or right of possession any sign, picture, transparency,
     advertisement, or mechanical device which is used for the purpose of
     advertising, or which advertises or brings to notice any person,
     article of merchandise, business or profession, or anything that is
     to be or has been sold, bartered, or given away, without the consent
     of the owner, lessee, or person in lawful possession of such property
     before such sign, picture, transparency, advertisement, or
     mechanical device is placed upon the property.




     556.2. Sections 556 and 556.1 do not prevent the posting of any
     notice required by law or order of any court, to be posted, nor the
     posting or placing of any notice, particularly pertaining to the
     grounds or premises upon which the notice is so posted or placed, nor
     the posting or placing of any notice, sign, or device used
     exclusively for giving public notice of the name, direction or
     condition of any highway, street, lane, road or alley.



     556.3. Any sign, picture, transparency, advertisement, or
     mechanical device placed on any property contrary to the provisions
     of Sections 556 and 556.1, is a public nuisance.



     556.4. For purposes of this article, information that appears on
     any sign, picture, transparency, advertisement, or mechanical device
     such as, but not limited to, the following, may be used as evidence
     to establish the fact, and may create an inference, that a person or
     entity is responsible for the posting of the sign, picture,
     transparency, advertisement, or mechanical device:
        (a) The name, telephone number, address, or other identifying
     information regarding the real estate broker, real estate brokerage
     firm, real estate agent, or other person associated with the firm.
        (b) The name, telephone number, address, or other identifying
     information of the owner or lessee of property used for a commercial
     activity or event.
        (c) The name, telephone number, address, or other identifying
     information of the sponsor or promoter of a sporting event, concert,
     theatrical performance, or similar activity or event.




     Taking over payments laws - CA (DRE?)

     This is a grey area, but I was instructed to do this illegally so I will pass on that attachment to you as well

     Transactions that only realtors should be doing, unlicensed people to do licensed work as Real
     Estate Agents in California include many of the methods taught by the aforementioned groups
     where students are taught to represent buyers or sellers of property. Trump University makes
     this conveniently sound like finding investors, but in reality, it is strictly forbidden by Federal,
     California and other State Laws, and Department of Real Estate to act as a Real Estate Broker




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     without a being licensed. Another way it is impossible to make money under the Trump Program
     violating their agreement which further negates their legal disclaimers.

     California Code

     10131.1. (a) A real estate broker within the meaning of this part
     is also a person who engages as a principal in the business of making
     loans or buying from, selling to, or exchanging with the public,
     real property sales contracts or promissory notes secured directly or
     collaterally by liens on real property, or who makes agreements with
     the public for the collection of payments or for the performance of
     services in connection with real property sales contracts or
     promissory notes secured directly or collaterally by liens on real
     property.
        (b) As used in this section:
        (1) "In the business" means any of the following:
        (A) The acquisition for resale to the public, and not as an
     investment, of eight or more real property sales contracts or
     promissory notes secured directly or collaterally by liens on real
     property during a calendar year.
        (B) The sale to or exchange with the public of eight or more real
     property sales contracts or promissory notes secured directly or
     collaterally by liens on real property during a calendar year.
     However, no transaction negotiated through a real estate licensee
     shall be considered in determining whether a person is a real estate
     broker within the meaning of this section.
        (C) The making of eight or more loans in a calendar year from the
     person's own funds to the public when those loans are held or resold
     and are secured directly or collaterally by a lien on residential
     real property consisting of a single dwelling unit in a condominium
     or cooperative or on any parcel containing only residential buildings
     if the total number of units on the parcel is four or less. However,
     no transaction negotiated through a real estate broker who meets the
     criteria of subdivision (a) or (b) of Section 10232 shall be
     considered in determining whether a person is a real estate broker
     within the meaning of this section.
        (2) "Sale," "resale," and "exchange" include every disposition of
     any interest in a real property sales contract or promissory note
     secured directly or collaterally by a lien on real property, except
     the original issuance of a promissory note by a borrower or a real
     property sales contract by a vendor, either of which is to be secured
     directly by a lien on real property owned by the borrower or vendor.
        (3) "Own funds" means either of the following:
        (A) Cash, corporate capital, or warehouse credit lines at
     commercial banks, savings banks, savings and loan associations,
     industrial loan companies, or other sources that are liability items
     on the person's financial statements, whether secured or unsecured.
        (B) Cash, corporate capital, or warehouse credit lines at
     commercial banks, savings banks, savings and loan associations,
     industrial loan companies, or other sources that are liability items
     on the financial statement of an affiliate of the person, whether
     secured or unsecured.
        (4) "Own funds" does not include funds provided by a third party
     to fund a loan on condition that the third party will subsequently
     purchase or accept an assignment of the loan.




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     10131.2. A real estate broker within the meaning of this part is
     also a person who engages in the business of claiming, demanding,
     charging, receiving, collecting or contracting for the collection of
     an advance fee in connection with any employment undertaken to
     promote the sale or lease of real property or of a business
     opportunity by advance fee listing, advertisement or other offering
     to sell, lease, exchange or rent property or a business opportunity,
     or to obtain a loan or loans thereon.

     10130. It is unlawful for any person to engage in the business, act
     in the capacity of, advertise or assume to act as a real estate
     broker or a real estate salesman within this state without first
     obtaining a real estate license from the department.
        The commissioner may prefer a complaint for violation of this
     section before any court of competent jurisdiction, and the
     commissioner and his counsel, deputies or assistants may assist in
     presenting the law or facts at the trial.
        It is the duty of the district attorney of each county in this
     state to prosecute all violations of this section in their respective
     counties in which the violations occur.



     10131. A real estate broker within the meaning of this part is a
     person who, for a compensation or in expectation of a compensation,
     regardless of the form or time of payment, does or negotiates to do
     one or more of the following acts for another or others:
        (a) Sells or offers to sell, buys or offers to buy, solicits
     prospective sellers or puchasers of, solicits or obtains listings of,
     or negotiates the purchase, sale or exchange of real property or a
     business opportunity.
        (b) Leases or rents or offers to lease or rent, or places for
     rent, or solicits listings of places for rent, or solicits for
     prospective tenants, or negotiates the sale, purchase or exchanges of
     leases on real property, or on a business opportunity, or collects
     rents from real property, or improvements thereon, or from business
     opportunities.
        (c) Assists or offers to assist in filing an application for the
     purchase or lease of, or in locating or entering upon, lands owned by
     the state or federal government.
        (d) Solicits borrowers or lenders for or negotiates loans or
     collects payments or performs services for borrowers or lenders or
     note owners in connection with loans secured directly or collaterally
     by liens on real property or on a business opportunity.
        (e) Sells or offers to sell, buys or offers to buy, or exchanges
     or offers to exchange a real property sales contract, or a promissory
     note secured directly or collaterally by a lien on real property or
     on a business opportunity, and performs services for the holders
     thereof.

     In addition, Trump University, and their affiliates take personal information for use that is
     prohibited by California Law. It is against the law to take credit cards or open credit accounts
     without telling the consumer how they will be used and where the information will be sent. Trump
     University distributes this information to its affiliates so they are able to extract the highest rate of




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     payment from prospective students based upon the STATEMENT OF PERSONAL FINANCIAL
     INFORMATION that they require the students to fill out prior to telling them how much programs
     will cost. They then use high pressure sales tactics with multiple sales men convincing the
     prospective student that this is a onetime offer and not allowing for sufficient time for the student
     to review the materials or go to the seminar so a 3 day cancellation policy is null and void as there
     is NO POSSIBLE WAY FOR THE STUDENT TO RENDER AN ACCURATE DECISION MAKING
     OPINION OF THE VALIDITY OF THE SERVICES AS THEY ARE NOT RENDERED UNTIL WEEKS,
     MONTHS, AND YEARS LATER…clearly a violation of law. In addition to teaching illegal tactics
     such as posting bandit signs, legally grey areas such as taking over payments, setting up corps
     to take phone calls from illegally solicited offers to buy or sell properties by mail, and email…this
     is a gross case of clear fraud and there is THE LAW IS 100% CLEAR AS TO THE VIOLATIONS
     MEANING THAT ALL FUNDS SHOULD BE CREDITED TO THE STUDENT IMMEDIATELY.

     http://www.leginfo.ca.gov/cgi-bin/waisgate?WAISdocID=0264678337+35+0+0&WAISaction=retrieve

              California Civil Code § 1747.08. Requiring identification information as condition of
             acceptance

     (a) Except as provided in subdivision (c), no person, firm, partnership, association, or corporation
     which accepts credit cards for the transaction of business shall do either of the following:
     (1) Request, or require as a condition to accepting the credit card as payment in full or in part for
     goods or services, the cardholder to write any personal identification information upon the credit card
     transaction form or otherwise.
     (2) Request, or require as a condition to accepting the credit card as payment in full or in part for
     goods or services, the cardholder to provide personal identification information, which the person,
     firm, partnership, association, or corporation accepting the credit card writes, causes to be written, or
     otherwise records upon the credit card transaction form or otherwise.
     (3) Utilize, in any credit card transaction, a credit card form which contains preprinted spaces
     specifically designated for filling in any personal identification information of the cardholder.

     (b) For purposes of this section "personal identification information," means information concerning
     the cardholder, other than information set forth on the credit card, and including, but not limited to,
     the cardholder's address and telephone number.

     (c) Subdivision (a) does not apply in the following instances:
     (1) When the credit card is being used as a deposit to secure payment in the event of default, loss,
     damage, or other similar occurrence.
     (2) Cash advance transactions.
     (3) When the person, firm, partnership, association, or corporation accepting the credit card is
     contractually obligated to provide personal identification information in order to complete the credit
     card transaction or is obligated to collect and record the personal identification information by federal
     law or regulation.
     (4) When personal identification information is required for a special purpose incidental but related to
     the individual credit card transaction, including, but not limited to, information relating to shipping,
     delivery, servicing, or installation of the purchased merchandise, or for special orders.

     (d) This section does not prohibit any person, firm, partnership, association, or corporation from
     requiring the cardholder, as a condition to accepting the credit card as payment in full or in part for
     goods or services, to provide reasonable forms of positive identification, which may include a driver's
     license or a California state identification card, or where one of these is not available, another form
     of photo identification, provided that none of the information contained thereon is written or recorded
     on the credit card transaction form or otherwise.If the cardholder pays for the transaction with a
     credit card number and does not make the credit card available upon request to verify the number,




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     the cardholder's driver's license number or identification card number may be recorded on the credit
     card transaction form or otherwise.

     (e) Any person who violates this section shall be subject to a civil penalty not to exceed two hundred
     fifty dollars ($ 250) for the first violation and one thousand dollars ($ 1,000) for each subsequent
     violation, to be assessed and collected in a civil action brought by the person paying with a credit
     card, by the Attorney General, or by the district attorney or city attorney of the county or city in which
     the violation occurred. However, no civil penalty shall be assessed for a violation of this section if the
     defendant shows by a preponderance of the evidence that the violation was not intentional and
     resulted from a bona fide error made notwithstanding the defendant's maintenance of procedures
     reasonably adopted to avoid such an error. When collected, the civil penalty shall be payable, as
     appropriate, to the person paying with a credit card who brought the action, or to the general fund of
     whichever governmental entity brought the action to assess the civil penalty.

     (f) The Attorney General, or any district attorney or city attorney within his or her respective
     jurisdiction, may bring an action in the superior court in the name of the people of the State of
     California to enjoin violation of subdivision (a) and, upon notice to the defendant of not less than five
     days, to temporarily restrain and enjoin the violation. If it appears to the satisfaction of the court that
     the defendant has, in fact, violated subdivision (a), the court may issue an injunction restraining
     further violations, without requiring proof that any person has been damaged by the violation. In
     these proceedings, if the court finds that the defendant has violated subdivision (a), the court may
     direct the defendant to pay any or all costs incurred by the Attorney General, district attorney, or city
     attorney in seeking or obtaining injunctive relief pursuant to this subdivision.

     (g) Actions for collection of civil penalties under subdivision (e) and for injunctive relief under
     subdivision (f) may be consolidated.

     (h) The changes made to this section by Assembly Bill 1316 of the 1995-96 Regular Session of the
     Legislature apply only to credit card transactions entered into on and after January 1, 1996. Nothing
     in those changes shall be construed to affect any civil action which was filed before January 1,
     1996.

     [Notes:
     The civil penalty provision of the Song-Beverly Credit Card Act of 1971 (CC § 1747.8(e)) does not
     mandate fixed penalties; rather, it sets maximum penalties of $ 250 for the first violation and $ 1,000
     for each subsequent violation, thus providing an entire range of available penalties. Linder v Thrifty
     Oil Co. (2000) 23 Cal 4th 429, 447, 97 Cal Rptr 2d 179, 2 P3d 27.

     Retailer violated the Song-Beverly Credit Card Act by requesting a consumer's telephone number
     before ringing up purchases on a credit card because the addition of the word "request" to Cal. Civ.
     Code § 1747.8 prohibited the retailer from seeking such information before the transaction;
     therefore, a trial court erred in granting the retailer's motion to dismiss the consumer's action. Florez
     v Linens 'N Things, Inc. (2003, 4th Dist) 108 Cal App 4th 447, 133 Cal Rptr 2d 465.]




     Civil Code Section

     1798.82. (a) Any person or business that conducts business in
     California, and that owns or licenses computerized data that includes
     personal information, shall disclose any breach of the security of
     the system following discovery or notification of the breach in the




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     security of the data to any resident of California whose unencrypted
     personal information was, or is reasonably believed to have been,
     acquired by an unauthorized person. The disclosure shall be made in
     the most expedient time possible and without unreasonable delay,
     consistent with the legitimate needs of law enforcement, as provided
     in subdivision (c), or any measures necessary to determine the scope
     of the breach and restore the reasonable integrity of the data
     system.
        (b) Any person or business that maintains computerized data that
     includes personal information that the person or business does not
     own shall notify the owner or licensee of the information of any
     breach of the security of the data immediately following discovery,
     if the personal information was, or is reasonably believed to have
     been, acquired by an unauthorized person.
        (c) The notification required by this section may be delayed if a
     law enforcement agency determines that the notification will impede a
     criminal investigation. The notification required by this section
     shall be made after the law enforcement agency determines that it
     will not compromise the investigation.
        (d) For purposes of this section, "breach of the security of the
     system" means unauthorized acquisition of computerized data that
     compromises the security, confidentiality, or integrity of personal
     information maintained by the person or business. Good faith
     acquisition of personal information by an employee or agent of the
     person or business for the purposes of the person or business is not
     a breach of the security of the system, provided that the personal
     information is not used or subject to further unauthorized
     disclosure.
        (e) For purposes of this section, "personal information" means an
     individual's first name or first initial and last name in combination
     with any one or more of the following data elements, when either the
     name or the data elements are not encrypted:
        (1) Social security number.
        (2) Driver's license number or California Identification Card
     number.
        (3) Account number, credit or debit card number, in combination
     with any required security code, access code, or password that would
     permit access to an individual's financial account.
        (4) Medical information.
        (5) Health insurance information.
        (f) (1) For purposes of this section, "personal information" does
     not include publicly available information that is lawfully made
     available to the general public from federal, state, or local
     government records.
        (2) For purposes of this section, "medical information" means any
     information regarding an individual's medical history, mental or
     physical condition, or medical treatment or diagnosis by a health
     care professional.
        (3) For purposes of this section, "health insurance information"
     means an individual's health insurance policy number or subscriber
     identification number, any unique identifier used by a health insurer
     to identify the individual, or any information in an individual's
     application and claims history, including any appeals records.
        (g) For purposes of this section, "notice" may be provided by one
     of the following methods:
        (1) Written notice.
        (2) Electronic notice, if the notice provided is consistent with




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     the provisions regarding electronic records and signatures set forth
     in Section 7001 of Title 15 of the United States Code.
        (3) Substitute notice, if the person or business demonstrates that
     the cost of providing notice would exceed two hundred fifty thousand
     dollars ($250,000), or that the affected class of subject persons to
     be notified exceeds 500,000, or the person or business does not have
     sufficient contact information. Substitute notice shall consist of
     all of the following:
        (A) E-mail notice when the person or business has an e-mail
     address for the subject persons.
        (B) Conspicuous posting of the notice on the Web site page of the
     person or business, if the person or business maintains one.
        (C) Notification to major statewide media.
        (h) Notwithstanding subdivision (g), a person or business that
     maintains its own notification procedures as part of an information
     security policy for the treatment of personal information and is
     otherwise consistent with the timing requirements of this part, shall
     be deemed to be in compliance with the notification requirements of
     this section if the person or business notifies subject persons in
     accordance with its policies in the event of a breach of security of
     the system.


     1798.83. (a) Except as otherwise provided in subdivision (d), if a
     business has an established business relationship with a customer and
     has within the immediately preceding calendar year disclosed
     personal information that corresponds to any of the categories of
     personal information set forth in paragraph (6) of subdivision (e) to
     third parties, and if the business knows or reasonably should know
     that the third parties used the personal information for the third
     parties' direct marketing purposes, that business shall, after the
     receipt of a written or electronic mail request, or, if the business
     chooses to receive requests by toll-free telephone or facsimile
     numbers, a telephone or facsimile request from the customer, provide
     all of the following information to the customer free of charge:
        (1) In writing or by electronic mail, a list of the categories set
     forth in paragraph (6) of subdivision (e) that correspond to the
     personal information disclosed by the business to third parties for
     the third parties' direct marketing purposes during the immediately
     preceding calendar year.
        (2) In writing or by electronic mail, the names and addresses of
     all of the third parties that received personal information from the
     business for the third parties' direct marketing purposes during the
     preceding calendar year and, if the nature of the third parties'
     business cannot reasonably be determined from the third parties'
     name, examples of the products or services marketed, if known to the
     business, sufficient to give the customer a reasonable indication of
     the nature of the third parties' business.
        (b) (1) A business required to comply with this section shall
     designate a mailing address, electronic mail address, or, if the
     business chooses to receive requests by telephone or facsimile, a
     toll-free telephone or facsimile number, to which customers may
     deliver requests pursuant to subdivision (a). A business required to
     comply with this section shall, at its election, do at least one of
     the following:
        (A) Notify all agents and managers who directly supervise
     employees who regularly have contact with customers of the designated




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     addresses or numbers or the means to obtain those addresses or
     numbers and instruct those employees that customers who inquire about
     the business's privacy practices or the business's compliance with
     this section shall be informed of the designated addresses or numbers
     or the means to obtain the addresses or numbers.
        (B) Add to the home page of its Web site a link either to a page
     titled "Your Privacy Rights" or add the words "Your Privacy Rights"
     to the home page's link to the business's privacy policy. If the
     business elects to add the words "Your Privacy Rights" to the link to
     the business's privacy policy, the words "Your Privacy Rights" shall
     be in the same style and size as the link to the business's privacy
     policy. If the business does not display a link to its privacy policy
     on the home page of its Web site, or does not have a privacy policy,
     the words "Your Privacy Rights" shall be written in larger type than
     the surrounding text, or in contrasting type, font, or color to the
     surrounding text of the same size, or set off from the surrounding
     text of the same size by symbols or other marks that call attention
     to the language. The first page of the link shall describe a customer'
     s rights pursuant to this section and shall provide the designated
     mailing address, e-mail address, as required, or toll-free telephone
     number or facsimile number, as appropriate. If the business elects to
     add the words "Your California Privacy Rights" to the home page's
     link to the business's privacy policy in a manner that complies with
     this subdivision, and the first page of the link describes a customer'
     s rights pursuant to this section, and provides the designated
     mailing address, electronic mailing address, as required, or
     toll-free telephone or facsimile number, as appropriate, the business
     need not respond to requests that are not received at one of the
     designated addresses or numbers.
        (C) Make the designated addresses or numbers, or means to obtain
     the designated addresses or numbers, readily available upon request
     of a customer at every place of business in California where the
     business or its agents regularly have contact with customers.
        The response to a request pursuant to this section received at one
     of the designated addresses or numbers shall be provided within 30
     days. Requests received by the business at other than one of the
     designated addresses or numbers shall be provided within a reasonable
     period, in light of the circumstances related to how the request was
     received, but not to exceed 150 days from the date received.
        (2) A business that is required to comply with this section and
     Section 6803 of Title 15 of the United States Code may comply with
     this section by providing the customer the disclosure required by
     Section 6803 of Title 15 of the United States Code, but only if the
     disclosure also complies with this section.
        (3) A business that is required to comply with this section is not
     obligated to provide information associated with specific
     individuals and may provide the information required by this section
     in standardized format.
        (c) (1) A business that is required to comply with this section is
     not obligated to do so in response to a request from a customer more
     than once during the course of any calendar year. A business with
     fewer than 20 full-time or part-time employees is exempt from the
     requirements of this section.
        (2) If a business that is required to comply with this section
     adopts and discloses to the public, in its privacy policy, a policy
     of not disclosing personal information of customers to third parties
     for the third parties' direct marketing purposes unless the customer




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     first affirmatively agrees to that disclosure, or of not disclosing
     the personal information of customers to third parties for the third
     parties' direct marketing purposes if the customer has exercised an
     option that prevents that information from being disclosed to third
     parties for those purposes, as long as the business maintains and
     discloses the policies, the business may comply with subdivision (a)
     by notifying the customer of his or her right to prevent disclosure
     of personal information, and providing the customer with a cost-free
     means to exercise that right.
        (d) The following are among the disclosures not deemed to be
     disclosures of personal information by a business for a third party's
     direct marketing purposes for purposes of this section:
        (1) Disclosures between a business and a third party pursuant to
     contracts or arrangements pertaining to any of the following:
        (A) The processing, storage, management, or organization of
     personal information, or the performance of services on behalf of the
     business during which personal information is disclosed, if the
     third party that processes, stores, manages, or organizes the
     personal information does not use the information for a third party's
     direct marketing purposes and does not disclose the information to
     additional third parties for their direct marketing purposes.
        (B) Marketing products or services to customers with whom the
     business has an established business relationship where, as a part of
     the marketing, the business does not disclose personal information
     to third parties for the third parties' direct marketing purposes.
        (C) Maintaining or servicing accounts, including credit accounts
     and disclosures pertaining to the denial of applications for credit
     or the status of applications for credit and processing bills or
     insurance claims for payment.
        (D) Public record information relating to the right, title, or
     interest in real property or information relating to property
     characteristics, as defined in Section 408.3 of the Revenue and
     Taxation Code, obtained from a governmental agency or entity or from
     a multiple listing service, as defined in Section 1087, and not
     provided directly by the customer to a business in the course of an
     established business relationship.
        (E) Jointly offering a product or service pursuant to a written
     agreement with the third party that receives the personal
     information, provided that all of the following requirements are met:
        (i) The product or service offered is a product or service of, and
     is provided by, at least one of the businesses that is a party to
     the written agreement.
        (ii) The product or service is jointly offered, endorsed, or
     sponsored by, and clearly and conspicuously identifies for the
     customer, the businesses that disclose and receive the disclosed
     personal information.
        (iii) The written agreement provides that the third party that
     receives the personal information is required to maintain the
     confidentiality of the information and is prohibited from disclosing
     or using the information other than to carry out the joint offering
     or servicing of a product or service that is the subject of the
     written agreement.
        (2) Disclosures to or from a consumer reporting agency of a
     customer's payment history or other information pertaining to
     transactions or experiences between the business and a customer if
     that information is to be reported in, or used to generate, a
     consumer report as defined in subdivision (d) of Section 1681a of




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     Title 15 of the United States Code, and use of that information is
     limited by the federal Fair Credit Reporting Act (15 U.S.C. Sec. 1681
     et seq.).
        (3) Disclosures of personal information by a business to a third
     party financial institution solely for the purpose of the business
     obtaining payment for a transaction in which the customer paid the
     business for goods or services with a check, credit card, charge
     card, or debit card, if the customer seeks the information required
     by subdivision (a) from the business obtaining payment, whether or
     not the business obtaining payment knows or reasonably should know
     that the third party financial institution has used the personal
     information for its direct marketing purposes.
        (4) Disclosures of personal information between a licensed agent
     and its principal, if the personal information disclosed is necessary
     to complete, effectuate, administer, or enforce transactions between
     the principal and the agent, whether or not the licensed agent or
     principal also uses the personal information for direct marketing
     purposes, if that personal information is used by each of them solely
     to market products and services directly to customers with whom both
     have established business relationships as a result of the principal
     and agent relationship.
        (5) Disclosures of personal information between a financial
     institution and a business that has a private label credit card,
     affinity card, retail installment contract, or cobranded card program
     with the financial institution, if the personal information
     disclosed is necessary for the financial institution to maintain or
     service accounts on behalf of the business with which it has a
     private label credit card, affinity card, retail installment
     contract, or cobranded card program, or to complete, effectuate,
     administer, or enforce customer transactions or transactions between
     the institution and the business, whether or not the institution or
     the business also uses the personal information for direct marketing
     purposes, if that personal information is used solely to market
     products and services directly to customers with whom both the
     business and the financial institution have established business
     relationships as a result of the private label credit card, affinity
     card, retail installment contract, or cobranded card program.
        (e) For purposes of this section, the following terms have the
     following meanings:
        (1) "Customer" means an individual who is a resident of California
     who provides personal information to a business during the creation
     of, or throughout the duration of, an established business
     relationship if the business relationship is primarily for personal,
     family, or household purposes.
        (2) "Direct marketing purposes" means the use of personal
     information to solicit or induce a purchase, rental, lease, or
     exchange of products, goods, property, or services directly to
     individuals by means of the mail, telephone, or electronic mail for
     their personal, family, or household purposes. The sale, rental,
     exchange, or lease of personal information for consideration to
     businesses is a direct marketing purpose of the business that sells,
     rents, exchanges, or obtains consideration for the personal
     information. "Direct marketing purposes" does not include the use of
     personal information (A) by bona fide tax exempt charitable or
     religious organizations to solicit charitable contributions, (B) to
     raise funds from and communicate with individuals regarding politics
     and government, (C) by a third party when the third party receives




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     personal information solely as a consequence of having obtained for
     consideration permanent ownership of accounts that might contain
     personal information, or (D) by a third party when the third party
     receives personal information solely as a consequence of a single
     transaction where, as a part of the transaction, personal information
     had to be disclosed in order to effectuate the transaction.
        (3) "Disclose" means to disclose, release, transfer, disseminate,
     or otherwise communicate orally, in writing, or by electronic or any
     other means to any third party.
        (4) "Employees who regularly have contact with customers" means
     employees whose contact with customers is not incidental to their
     primary employment duties, and whose duties do not predominantly
     involve ensuring the safety or health of the business's customers. It
     includes, but is not limited to, employees whose primary employment
     duties are as cashier, clerk, customer service, sales, or promotion.
     It does not, by way of example, include employees whose primary
     employment duties consist of food or beverage preparation or service,
     maintenance and repair of the business's facilities or equipment,
     direct involvement in the operation of a motor vehicle, aircraft,
     watercraft, amusement ride, heavy machinery or similar equipment,
     security, or participation in a theatrical, literary, musical,
     artistic, or athletic performance or contest.
        (5) "Established business relationship" means a relationship
     formed by a voluntary, two-way communication between a business and a
     customer, with or without an exchange of consideration, for the
     purpose of purchasing, renting, or leasing real or personal property,
     or any interest therein, or obtaining a product or service from the
     business, if the relationship is ongoing and has not been expressly
     terminated by the business or the customer, or if the relationship is
     not ongoing, but is solely established by the purchase, rental, or
     lease of real or personal property from a business, or the purchase
     of a product or service, and no more than 18 months have elapsed from
     the date of the purchase, rental, or lease.
        (6) (A) The categories of personal information required to be
     disclosed pursuant to paragraph (1) of subdivision (a) are all of the
     following:
        (i) Name and address.
        (ii) Electronic mail address.
        (iii) Age or date of birth.
        (iv) Names of children.
        (v) Electronic mail or other addresses of children.
        (vi) Number of children.
        (vii) The age or gender of children.
        (viii) Height.
        (ix) Weight.
        (x) Race.
        (xi) Religion.
        (xii) Occupation.
        (xiii) Telephone number.
        (xiv) Education.
        (xv) Political party affiliation.
        (xvi) Medical condition.
        (xvii) Drugs, therapies, or medical products or equipment used.
        (xviii) The kind of product the customer purchased, leased, or
     rented.
        (xix) Real property purchased, leased, or rented.
        (xx) The kind of service provided.




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        (xxi) Social security number.
        (xxii) Bank account number.
        (xxiii) Credit card number.
        (xxiv) Debit card number.
        (xxv) Bank or investment account, debit card, or credit card
     balance.
        (xxvi) Payment history.
        (xxvii) Information pertaining to the customer's creditworthiness,
     assets, income, or liabilities.
        (B) If a list, description, or grouping of customer names or
     addresses is derived using any of these categories, and is disclosed
     to a third party for direct marketing purposes in a manner that
     permits the third party to identify, determine, or extrapolate any
     other personal information from which the list was derived, and that
     personal information when it was disclosed identified, described, or
     was associated with an individual, the categories set forth in this
     subdivision that correspond to the personal information used to
     derive the list, description, or grouping shall be considered
     personal information for purposes of this section.
        (7) "Personal information" as used in this section means any
     information that when it was disclosed identified, described, or was
     able to be associated with an individual and includes all of the
     following:
        (A) An individual's name and address.
        (B) Electronic mail address.
        (C) Age or date of birth.
        (D) Names of children.
        (E) Electronic mail or other addresses of children.
        (F) Number of children.
        (G) The age or gender of children.
        (H) Height.
        (I) Weight.
        (J) Race.
        (K) Religion.
        (L) Occupation.
        (M) Telephone number.
        (N) Education.
        (O) Political party affiliation.
        (P) Medical condition.
        (Q) Drugs, therapies, or medical products or equipment used.
        (R) The kind of product the customer purchased, leased, or rented.
        (S) Real property purchased, leased, or rented.
        (T) The kind of service provided.
        (U) Social security number.
        (V) Bank account number.
        (W) Credit card number.
        (X) Debit card number.
        (Y) Bank or investment account, debit card, or credit card
     balance.
        (Z) Payment history.
        (AA) Information pertaining to creditworthiness, assets, income,
     or liabilities.
        (8) "Third party" or "third parties" means one or more of the
     following:
        (A) A business that is a separate legal entity from the business
     that has an established business relationship with a customer.
        (B) A business that has access to a database that is shared among




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     businesses, if the business is authorized to use the database for
     direct marketing purposes, unless the use of the database is exempt
     from being considered a disclosure for direct marketing purposes
     pursuant to subdivision (d).
        (C) A business not affiliated by a common ownership or common
     corporate control with the business required to comply with
     subdivision (a).
        (f) (1) Disclosures of personal information for direct marketing
     purposes between affiliated third parties that share the same brand
     name are exempt from the requirements of paragraph (1) of subdivision
     (a) unless the personal information disclosed corresponds to one of
     the following categories, in which case the customer shall be
     informed of those categories listed in this subdivision that
     correspond to the categories of personal information disclosed for
     direct marketing purposes and the third party recipients of personal
     information disclosed for direct marketing purposes pursuant to
     paragraph (2) of subdivision (a):
        (A) Number of children.
        (B) The age or gender of children.
        (C) Electronic mail or other addresses of children.
        (D) Height.
        (E) Weight.
        (F) Race.
        (G) Religion.
        (H) Telephone number.
        (I) Medical condition.
        (J) Drugs, therapies, or medical products or equipment used.
        (K) Social security number.
        (L) Bank account number.
        (M) Credit card number.
        (N) Debit card number.
        (O) Bank or investment account, debit card, or credit card
     balance.
        (2) If a list, description, or grouping of customer names or
     addresses is derived using any of these categories, and is disclosed
     to a third party or third parties sharing the same brand name for
     direct marketing purposes in a manner that permits the third party to
     identify, determine, or extrapolate the personal information from
     which the list was derived, and that personal information when it was
     disclosed identified, described, or was associated with an
     individual, any other personal information that corresponds to the
     categories set forth in this subdivision used to derive the list,
     description, or grouping shall be considered personal information for
     purposes of this section.
        (3) If a business discloses personal information for direct
     marketing purposes to affiliated third parties that share the same
     brand name, the business that discloses personal information for
     direct marketing purposes between affiliated third parties that share
     the same brand name may comply with the requirements of paragraph
     (2) of subdivision (a) by providing the overall number of affiliated
     companies that share the same brand name.
        (g) The provisions of this section are severable. If any provision
     of this section or its application is held invalid, that invalidity
     shall not affect other provisions or applications that can be given
     effect without the invalid provision or application.
        (h) This section does not apply to a financial institution that is
     subject to the California Financial Information Privacy Act




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     (Division 1.2 (commencing with Section 4050) of the Financial Code)
     if the financial institution is in compliance with Sections 4052,
     4052.5, 4053, 4053.5, and 4054.6 of the Financial Code, as those
     sections read when they were chaptered on August 28, 2003, and as
     subsequently amended by the Legislature or by initiative.
        (i) This section shall become operative on January 1, 2005.



     1798.84. (a) Any waiver of a provision of this title is contrary to
     public policy and is void and unenforceable.
        (b) Any customer injured by a violation of this title may
     institute a civil action to recover damages.
        (c) In addition, for a willful, intentional, or reckless violation
     of Section 1798.83, a customer may recover a civil penalty not to
     exceed three thousand dollars ($3,000) per violation; otherwise, the
     customer may recover a civil penalty of up to five hundred dollars
     ($500) per violation for a violation of Section 1798.83.
        (d) Unless the violation is willful, intentional, or reckless, a
     business that is alleged to have not provided all the information
     required by subdivision (a) of Section 1798.83, to have provided
     inaccurate information, failed to provide any of the information
     required by subdivision (a) of Section 1798.83, or failed to provide
     information in the time period required by subdivision (b) of Section
     1798.83, may assert as a complete defense in any action in law or
     equity that it thereafter provided regarding the information that was
     alleged to be untimely, all the information, or accurate
     information, to all customers who were provided incomplete or
     inaccurate information, respectively, within 90 days of the date the
     business knew that it had failed to provide the information, timely
     information, all the information, or the accurate information,
     respectively.
        (e) Any business that violates, proposes to violate, or has
     violated this title may be enjoined.
        (f) A prevailing plaintiff in any action commenced under Section
     1798.83 shall also be entitled to recover his or her reasonable
     attorney's fees and costs.
        (g) The rights and remedies available under this section are
     cumulative to each other and to any other rights and remedies
     available under law.

     In addition, the Trump University, and their affiliates, imply, promise or suggest that
     students who follow their program (including the illegal teachings and practices) will reap
     back their investment. In addition, they promised that the first month would produce
     $30,000 in returns equally about ½ of the total investment the Student paid for the services.
     The Student had no former training in the Real Estate market and was relying on the
     promises of return on their investment for training and continuing services to replace the
     initial investment in the aforementioned groups books, seminars, retreats, legal services
     and ongoing mentor training. In reality, because the books, seminars, retreats and ongoing
     mentor training required that the student violate California Codes in order to “potentially”
     make money in real estate transactions acting as a Real Estate Agent in Violation of DRE,
     Federal, and California Code in addition to Nevada Law, Arkansas Law, Florida Law, and
     New York Law. This is clearly a violation of the code below again requiring that THE




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     STUDENT BE REFUNDED ALL MONEY SPENT ON THE REAL ESTATE PROGRAM
     by the AFOREMENTIONED PARTIES.
     CALIFORNIA CODES
     CIVIL CODE
     SECTION 1812.200-1812.221

     Broad Fraud Federal and State Provisions



     Prohibited Acts and Practices


     Most state deceptive trade practices statutes include broad restrictions on "deceptive" or
     "unfair" trade practices. These states often include prohibitions
     against FRAUDULENT practices and unconscionable practices. The Federal Trade
     Commission, when interpreting the FTCA, does not require that the person committing an
     act of deception have the intent to deceive. Moreover, the FTC does not require that actual
     deception occur. The FTC merely requires that a party have the capacity to deceive or
     commit an unfair trade practice. If a business or individual has this capacity or tendency to
     deceive, the FTC under the FTCA may order the company to cease and desist the deceptive
     or unfair practice. State statutes similarly do not require that a company specifically intends
     to deceive, nor must a company always have knowledge that a statement is false to be
     liable for misrepresentations made to a consumer.


     A consumer who has been victimized by a potential deceptive or unfair trade practice should
     consult the deceptive trade practice statute in that state, plus consult CASE LAW applying
     this statute, to determine whether he or she has a cause of action. In addition to the broad
     prohibition against deception, most state statutes also include a list of practices that are
     defined as deceptive. Under the Uniform Deceptive Trade Practices Act, if a business or
     person engages in the following, the action constitutes a deceptive trade practice:


           Passes off goods or services as those of another
           Causes likelihood of confusion or of misunderstanding as to the source, sponsorship,
            approval, or certification of goods or services
           Causes likelihood of confusion or of misunderstanding as to affiliation, connection, or
            association with, or certification by, another
           Uses deceptive representations or designations of geographic origin in connection
            with goods or services




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           Represents that goods or services have sponsorship, approval, characteristics,
            ingredients, uses, benefits, or qualities that they do not have or that a person has a
            sponsor-ship, approval, status, affiliation, or connection that he does not have
           Represents that goods are original or new if they are deteriorated, altered,
            reconditioned, reclaimed, used, or second-hand
           Represents that goods or services are of particular standard, quality, or grade, or
            that goods are of particular style or model, if they are of another
           Disparages the goods, services, or business of another by false or misleading
            misrepresentation of fact
           Advertises goods or services with intent not to sell them as advertised
           Advertises goods or services with intent not to supply reasonably expected public
            demand, unless advertisement discloses a limitation of quantity
           Makes false or misleading statements of fact concerning the reasons for, existence
            of, or amounts of price reductions
           Engages in any other conduct which similarly creates the likelihood of confusion or of
            misunderstanding


     Most states include similar items in their lists of deceptive trade practices violations, even if
     those states have not adopted the uniform act. In addition, the FTC and many states
     prohibit other unfair practices, including the following:


           Unfair provisions in contracts of adhesion
           Coercive or high-pressure tactics in sales and collection efforts
           Illegal conduct
           Taking advantage of bargaining power of vulnerable groups
           Taking advantage of emergency situations
           Unconscionable activities, including outrageous and offensive conduct by a business
            in the sale of goods or services


     1812.200. (a) The Legislature finds and declares that the widespread sale of
     seller assisted marketing plans, often connected with the sale of vending
     machines, racks or work-at-home paraphernalia, has created numerous problems
     in California for purchasers which are inimical to good business practice.
     Often purchasers of seller assisted marketing plans are individuals
     inexperienced in business matters who use their life savings to purchase the
     seller assisted marketing plan in the hope that they will earn enough money
     in addition to retirement income or salary to become or remain self-
     sufficient. Many purchasers are the elderly who are seeking a way to
     supplement their fixed incomes. The initial payment is usually in the form of
     a purchase of overpriced equipment or products. California purchasers have




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     suffered substantial losses when they have failed to receive full and
     complete information regarding the seller assisted marketing plan, the amount
     of money they can reasonably expect to earn, and the previous experience of
     the seller assisted marketing plan seller. Seller assisted marketing plan
     sellers have a significant impact upon the economy and well-being of this
     state and its local communities. The provisions of his title relating to
     seller assisted marketing plans are necessary for the public welfare.
        (b) It is the intent of this title to provide each prospective
     seller assisted marketing plan purchaser with the information necessary to
     make an intelligent decision regarding seller assisted marketing plans being
     offered; to safeguard the public against deceit and financial hardship; to
     insure, foster and encourage competition and fair dealing in the sale of
     seller assisted marketing plans by requiring adequate disclosure; to prohibit
     representations that tend to mislead; and to prohibit or restrict unfair
     contract terms. This title shall be construed liberally in order to achieve
     the foregoing purposes.


     1812.201. For the purposes of this title, the following definitions
     shall apply:
        (a) "Seller assisted marketing plan" means any sale or lease or offer to
     sell or lease any product, equipment, supplies, or services that requires a
     total initial payment exceeding five hundred dollars ($500), but requires an
     initial cash payment of less than fifty thousand dollars ($50,000), that will
     aid a purchaser or will be used by or on behalf of the purchaser in
     connection with or incidental to beginning, maintaining, or operating a
     business when the seller assisted marketing plan seller has advertised or in
     any other manner solicited the purchase or lease of the seller assisted
     marketing plan and done any of the following acts:
        (1) Represented that the purchaser will earn, is likely to earn,
     or can earn an amount in excess of the initial payment paid by the purchaser
     for participation in the seller assisted marketing plan.
        (2) Represented that there is a market for the product, equipment,
     supplies, or services, or any product marketed by the user of the product,
     equipment, supplies, or services sold or leased or offered for sale or lease
     to the purchaser by the seller, or anything, be it tangible or intangible,
     made, produced, fabricated, grown, bred, modified, or developed by the
     purchaser using, in whole or in part, the product, supplies, equipment, or
     services that were sold or leased or offered for sale or lease to the
     purchaser by the seller assisted marketing plan seller.
        (3) Represented that the seller will buy back or is likely to buy
     back any product made, produced, fabricated, grown, or bred by the purchaser
     using, in whole or in part, the product, supplies, equipment, or services
     that were initially sold or leased or offered for sale or lease to the
     purchaser by the seller assisted marketingplan seller.
        (b) A "seller assisted marketing plan" shall not include:
        (1) A security, as defined in the Corporate Securities Law of 1968
     (Division 1 (commencing with Section 25000) of Title 4 of the Corporations
     Code), that has been qualified for sale by the Department of Corporations, or
     is exempt under Chapter 1 (commencing with Section 25100) of Part 2 of
     Division 1 of Title 4 of the Corporations Code from the necessity to qualify.
     (2) A franchise defined by the Franchise Investment Law (Division5
     (commencing with Section 31000) of Title 4 of the Corporations Code) that is
     registered with the Department of Corporations or is exempt under Chapter 1
     (commencing with Section 31100) of Part 2 of Division 5 of Title 4 of the
     Corporations Code from the necessity of registering.




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        (3) Any transaction in which either the seller or purchaser or the lessor
     or lessee is licensed pursuant to and the transaction is governed by the Real
     Estate Law, Division 4 (commencing with Section
     10000) of the Business and Professions Code.
        (4) A license granted by a general merchandise retailer that allows the
     licensee to sell goods, equipment, supplies, products, or services to the
     general public under the retailer's trademark, trade name, or service mark if
     all of the following criteria are satisfied:
        (A) The general merchandise retailer has been doing business in this state
     continually for five years prior to the granting of the
     license.
        (B) The general merchandise retailer sells diverse kinds of goods,
     equipment, supplies, products, or services.
        (C) The general merchandise retailer also sells the same goods,
     equipment, supplies, products, or services directly to the general
     public.
        (D) During the previous 12 months the general merchandise retailer' s
     direct sales of the same goods, equipment, supplies, products, or services to
     the public account for at least 50 percent of its yearly sales of these
     goods, equipment, supplies, products, or services made under the retailer's
     trademark, trade name, or service mark.
        (5) A newspaper distribution system distributing newspapers as defined in
     Section 6362 of the Revenue and Taxation Code.
        (6) A sale or lease to an existing or beginning business enterprise that
     also sells or leases equipment, products, supplies, or performs services that
     are not supplied by the seller and that the purchaser does not utilize with
     the equipment, products, supplies, or services of the seller, if the
     equipment, products, supplies, or services not supplied by the seller account
     for more than 25 percent of the purchaser's gross sales.
        (7) The sale in the entirety of an "ongoing business." For purposes of
     this paragraph, an "ongoing business" means a business that for at least six
     months previous to the sale has been operated from a particular specific
     location, has been open for business to the general public, and has had all
     equipment and supplies necessary for operating the business located at that
     location. The sale shall be of the entire "ongoing business" and not merely a
     portion of theongoing business.
        (8) A sale or lease or offer to sell or lease to a purchaser (A)
     who has for a period of at least six months previously bought
     products, supplies, services, or equipment that were sold under the
     same trademark or trade name or that were produced by the seller and,
     (B) who has received on resale of the product, supplies, services,
     or equipment an amount that is at least equal to the amount of the
     initial payment.
        (9) The renewal or extension of an existing seller assisted
     marketing plan contract.
        (10) A product distributorship that meets each of the following
     requirements:
        (A) The seller sells products to the purchaser for resale by the
     purchaser, and it is reasonably contemplated that substantially all
     of the purchaser's sales of the product will be at wholesale.
        (B) The agreement between the parties does not require that the
     purchaser pay the seller, or any person associated with the seller, a
     fee or any other payment for the right to enter into the agreement,
     and does not require the purchaser to buy a minimum or specified
     quantity of the products, or to buy products for a minimum or
     specified period of time. For purposes of this paragraph, a "person
     associated with the seller" means a person, including an individual




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     or a business entity, controlling, controlled by, or under the same
     control as the seller.
        (C) The seller is a corporation, partnership, limited liability
     company, joint venture, or any other business entity.
        (D) The seller has a net worth of at least ten million dollars
     ($10,000,000) according to audited financial statements of the seller
     done during the 18 months preceding the date of the initial sale of
     products to the purchaser. Net worth may be determined on a
     consolidated basis if the seller is a subsidiary of another business
     entity that is permitted by generally accepted accounting standards
     to prepare financial statements on a consolidated basis and that
     business entity absolutely and irrevocably agrees in writing to
     guarantee the seller's obligations to the purchaser. The seller's net
     worth shall be verified by a certification to the Attorney General
     from an independent certified public accountant that the audited
     financial statement reflects a net worth of at least ten million
     dollars ($10,000,000). This certification shall be provided within 30
     days following receipt of a written request from the Attorney
     General.
        (E) The seller grants the purchaser a license to use a trademark
     that is registered under federal law.
        (F) It is not an agreement or arrangement encouraging a
     distributor to recruit others to participate in the program and
     compensating the distributor for recruiting others into the program
     or for sales made by others recruited into the program.
        (c) "Person" includes an individual, corporation, partnership,
     limited liability company, joint venture, or any business entity.
        (d) "Seller" means a person who sells or leases or offers to sell
     or lease a seller assisted marketing plan and who meets either of the
     following conditions:
        (1) Has sold or leased or represents or implies that the seller
     has sold or leased, whether in California or elsewhere, at least five
     seller assisted marketing plans within 24 months prior to a
     solicitation.
        (2) Intends or represents or implies that the seller intends to
     sell or lease, whether in California or elsewhere, at least five
     seller assisted marketing plans within 12 months following a
     solicitation.
        For purposes of this title, the seller is the person to whom the
     purchaser becomes contractually obligated. A "seller" does not
     include a licensed real estate broker or salesman who engages in the
     sale or lease of a "business opportunity" as that term is used in
     Sections 10000 to 10030, inclusive, of the Business and Professions
     Code, or elsewhere in Chapter 1 (commencing with Section 10000),
     Chapter 2 (commencing with Section 10050), or Chapter 6 (commencing
     with Section 10450) of Part 1 of Division 4 of the Business and
     Professions Code.
        (e) "Purchaser" means a person who is solicited to become
     obligated or does become obligated on a seller assisted marketing
     plan contract.
        (f) "Equipment" includes machines, all electrical devices, video
     or audio devices, molds, display racks, vending machines, coin
     operated game machines, machines that dispense products, and display
     units of all kinds.
        (g) "Supplies" includes any and all materials used to produce,
     grow, breed, fabricate, modify, develop, or make any product or item.
        (h) "Product" includes any tangible chattel, including food or




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     living animals, that the purchaser intends to:
        (1) Sell or lease.
        (2) Use to perform a service.
        (3) Resell or attempt to resell to the seller assisted marketing
     plan seller.
        (4) Provide or attempt to provide to the seller assisted marketing
     plan seller or to any other person whom the seller suggests the
     purchaser contact so that the seller assisted marketing plan seller
     or that other person may assist, either directly or indirectly, the
     purchaser in distributing, selling, leasing, or otherwise disposing
     of the product.
        (i) "Services" includes any assistance, guidance, direction, work,
     labor, or services provided by the seller to initiate or maintain or
     assist in the initiation or maintenance of a business.
        (j) "Seller assisted marketing plan contract" or "contract" means
     any contract or agreement that obligates a purchaser to a seller.
        (k) "Initial payment" means the total amount a purchaser is
     obligated to pay to the seller under the terms of the seller assisted
     marketing plan contract prior to or at the time of delivery of the
     equipment, supplies, products, or services or within six months of
     the purchaser commencing operation of the seller assisted marketing
     plan. If the contract sets forth a specific total sale price for
     purchase of the seller assisted marketing plan which total price is
     to be paid partially as a downpayment and then in specific monthly
     payments, the "initial payment" means the entire total sale price.
        (l) "Initial cash payment" or "downpayment" means that portion of
     the initial payment that the purchaser is obligated to pay to the
     seller prior to or at the time of delivery of equipment, supplies,
     products, or services. It does not include any amount financed by or
     for which financing is to be obtained by the seller, or financing
     that the seller assists in obtaining.
        (m) "Buy-back" or "secured investment" means any representation
     that implies in any manner that the purchaser's initial payment is
     protected from loss. These terms include a representation or
     implication of any of the following:
        (1) That the seller may repurchase either all or part of what it
     sold to the purchaser.
        (2) That the seller may at some future time pay the purchaser the
     difference between what has been earned and the initial payment.
        (3) That the seller may in the ordinary course buy from the
     purchaser items made, produced, fabricated, grown, bred, modified, or
     developed by the purchaser using, in whole or in part, the product,
     supplies, equipment, or services that were initially sold or leased
     to the purchaser by the seller.
        (4) That the seller or a person to whom the seller will refer the
     purchaser may in the ordinary course sell, lease, or distribute the
     items the purchaser has for sale or lease.



     1812.202. (a) An offer to sell or offer to lease a seller assisted
     marketing plan shall occur in this state whenever:
        (1) The offer to sell or offer to lease is made in this state;
        (2) The purchaser resides in this state at the time of the offer;
     or
        (3) The offer to sell or offer to lease either originates from
     this state or is directed by the seller or lessor to this state and




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     received at the place to which it is directed.
        (b) A sale or lease of a seller assisted marketing plan shall
     occur in this state whenever:
        (1) The offer to sell or offer to lease is accepted in this state;
        (2) The purchaser resides in this state at the time of the sale;
     or
        (3) The acceptance is communicated to a seller situated in this
     state.



     1812.203. (a) The seller of any seller assisted marketing plan
     shall pay an annual fee in the amount of one hundred dollars ($100)
     and annually file with the Attorney General a copy of the disclosure
     statements required under Sections 1812.205 and 1812.206, as well as
     a list of the names and resident addresses of those individuals who
     sell the seller assisted marketing plan on behalf of the seller. The
     first filing shall be made at least 30 days prior to placing any
     advertisement or making any other representations to prospective
     purchasers. The first filing shall not be deemed to be effective
     until a notice of filing has been issued by the Attorney General. The
     seller may not make any advertisement or other representation to
     prospective purchasers until a notice of filing has been issued by
     the Attorney General. The disclosure statements on file shall be
     updated through a new filing and payment of a fee in the amount of
     thirty dollars ($30), whenever material changes occur during the year
     following the annual filing and the updated filing shall include all
     disclosure statements required by Sections 1812.205 and 1812.206 and
     a list of the names and resident addresses of all current
     salespersons and all salespersons who have acted on behalf of the
     seller since the previous filing, whether the annual filing or an
     updated filing, indicating which salespersons are still active and
     which no longer act on behalf of the seller. Each seller of a seller
     assisted marketing plan shall file the annual renewal filing, whether
     or not any update filings have been made, at least 10 days before
     one year has elapsed from the date of the notice of filing issued by
     the Attorney General, and at least 10 days before the same date every
     year thereafter. The annual renewal filing shall include all
     disclosure statements required by Sections 1812.205 and 1812.206 and
     a list of the names and addresses of the residences of all current
     salespersons and all salespersons who have acted on behalf of the
     seller since the previous filing (whether the annual filing or an
     updated filing), indicating which salespersons are still active and
     which no longer act on behalf of the seller. The annual renewal
     filing fee shall be one hundred dollars ($100). If an annual renewal
     filing is not filed as required, the previous filing shall be deemed
     to have lapsed and the seller shall be prohibited from placing any
     seller assisted marketing plan advertisements or making any other
     representations to prospective purchasers of seller assisted
     marketing plan until a new annual filing is made and a new notice of
     filing has been issued by the Attorney General.
        (b) The Attorney General may send by certified mail to the address
     set forth in the seller assisted marketing plan filing an intent to
     issue a stop order denying the effectiveness of or suspending or
     revoking the effectiveness of any filing if he or she finds the
     following:
        (1) That there has been a failure to comply with any of the




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     provisions of this title.
        (2) That the offer or sale of the seller assisted marketing plan
     would constitute a misrepresentation to, or deceit of, or fraud on,
     the purchaser.
        (3) That any person identified in the filing has been convicted of
     an offense under paragraph (1) of subdivision (b) of Section
     1812.206, or is subject to an order or has had a civil judgment
     entered against him or her as described in paragraphs (2) and (3) of
     subdivision (b) of Section 1812.206, and the involvement of that
     person in the sale or management of the seller assisted marketing
     plan creates an unreasonable risk to prospective purchasers.
        (c) The notice referred to shall include facts supporting a
     suspension or revocation. If the seller assisted marketing plan does
     not submit to the Attorney General, under penalties of perjury signed
     by an owner or officer of the seller assisted marketing plan, within
     10 days of receipt of the intent to issue a stop order, a refutation
     of each and every supporting fact set forth in the notice, and each
     fact not refuted shall be deemed, for purposes of issuance of the
     order, an admission that the fact is true. If, in the opinion of the
     Attorney General, and based upon supporting facts not refuted by the
     seller assisted marketing plan, the plan is offered to the public
     without compliance with this title, the Attorney General may order
     the seller to desist and refrain from the further sale or attempted
     sale of the seller assisted marketing plan unless and until a notice
     of filing has been issued pursuant to this section. Until that time,
     the registration shall be void. The order shall be in effect until
     and unless the seller assisted marketing plan files a proceeding in
     superior court pursuant to Section 1085 or 1094.5 of the Code of
     Civil Procedure or seeks other judicial relief and serves a copy of
     the proceeding upon the Attorney General.



     1812.204. In selling, leasing, or offering to sell or lease a
     seller assisted marketing plan in this state, sellers shall not:
        (a) Use the phrase "buy-back" or "secured investment" or similar
     phrase orally or in writing when soliciting, offering, leasing, or
     selling a seller assisted marketing plan if the "security" is the
     value of the equipment, supplies, products or services supplied by
     the seller to the purchaser.
        (b) Use the phrase "buy-back" or "secured investment" or similar
     phrase orally or in writing when soliciting, offering, leasing, or
     selling a seller assisted marketing plan unless there are no
     restrictions or qualifications whatsoever preventing or limiting a
     purchaser from being able to invoke the "buy-back" or "secured"
     portion of the seller assisted marketing plan contract at any time
     the purchaser desires during the one-year period following the
     contract date. Upon invocation of the "buy-back" or "security"
     provision, the minimum amount a purchaser shall be entitled to have
     returned to him is the full amount of his initial payment, less the
     amount actually received by him from the operation of the seller
     assisted marketing plan. The "amount actually received" means either
     the amount the purchaser actually obtained from the seller for any
     product resold to the seller or the amount of money the purchaser
     received for use of the purchaser's product, equipment, supplies or
     services, less any amount: (1) the purchaser has paid the owner or
     manager of the location at which the purchaser's products, equipment,




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     supplies or services are placed; and (2) the purchaser has paid to
     obtain other items needed in order to sell, make, produce, fabricate,
     grow, breed, modify, or develop the item which the seller assisted
     marketing plan purchaser intends to sell, lease, distribute, or
     otherwise dispose of.
        (c) Represent that a purchaser's initial payment is "secured" in
     any manner or to any degree or that the seller provides a "buy-back"
     arrangement unless the seller has, in conformity with subdivision (b)
     of Section 1812.214, either obtained a surety bond issued by a
     surety company admitted to do business in this state or established a
     trust account at a federally insured bank or savings and loan
     association located in this state.
        (d) Represent that the seller assisted marketing plan provides
     income or earning potential of any kind unless the seller has data to
     substantiate the claims of income or earning potential and discloses
     this data to the purchaser at the time the claim is made, if made in
     person, or if made through written or telephonic communication, at
     the first in-person communication thereafter and, when disclosed, the
     data is left with the purchaser. A mathematical computation of the
     number of sales multiplied by the amount of profit per sale to reach
     a projected income figure is not sufficient data to substantiate an
     income or earning potential claim. Income or earning potential claims
     cannot be made or implied at all unless they are based on the
     experience of at least 10 purchasers from the seller assisted
     marketing plan being offered. The data left by the seller must, at a
     minimum, disclose:
        (1) The length of time the seller has been selling the particular
     seller assisted marketing plan being offered;
        (2) The number of purchasers from the seller known to the seller
     to have made at least the same sales, income or profits as those
     represented; and
        (3) The percentage the number represents of the total number of
     purchasers from the seller.
        (e) Use the trademark, service mark, trade name, logotype,
     advertising or other commercial symbol of any business which does not
     either control the ownership interest in the seller or accept
     responsibility for all representations made by the seller in regard
     to the seller assisted marketing plan, unless the nature of the
     seller's relationship to such other business entity is set forth
     immediately adjacent to and in type size equal to or larger than that
     used to depict the commercial symbol of such other business. If a
     member of a trade association, the seller may use the logo or
     registration mark of the trade association in advertisements and
     materials without regard to this subdivision.
        (f) Place or cause to be placed any advertisement for a seller
     assisted marketing plan which does not include the actual business
     name of the seller, and if it differs, the name under which the
     seller assisted marketing plan is operated and the street address of
     the principal place of business of the seller.



     1812.205. At the first in-person communication with a potential
     purchaser or in the first written response to an inquiry by a
     potential purchaser, whichever occurs first, wherein the seller
     assisted marketing plan is described, the seller or his or her
     representative shall provide the prospective purchaser a written




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     document, the cover sheet of which is entitled in at least 16-point
     boldface capital letters "DISCLOSURE REQUIRED BY CALIFORNIA LAW."
     Under the title shall appear in boldface of at least 10-point type,
     the statement: "The State of California has not reviewed and does not
     approve, recommend, endorse or sponsor any seller assisted marketing
     plan. The information contained in this disclosure has not been
     checked by the state. If you have any questions about this purchase,
     see an attorney or other financial adviser before you sign a contract
     or agreement." Nothing shall appear on the cover sheet except the
     title and the statement required above. The disclosure document shall
     contain the following information:
        (a) The name of the seller, the name under which the seller is
     doing or intends to do business and the name of any parent or
     affiliated company that will engage in business transactions with
     purchasers or accept responsibility for statements made by the
     seller.
        (b) A statement of the initial payment to be paid by the purchaser
     to the seller, or when not known, a statement of the approximate
     initial payment charged, the amount of the initial payment to be paid
     to a person inducing, directly or indirectly, a purchaser to
     contract for the seller assisted marketing plan.
        (c) A full and detailed description of the actual services the
     seller will undertake to perform for the purchaser.
        (d) When the seller makes any statement concerning earnings or
     range of earnings that may be made through the seller assisted
     marketing plan, he must comply with subdivision (d) of Section
     1812.204 and set forth in complete form in this disclosure statement
     the following:
        "No guarantee of earnings or ranges of earnings can be made. The
     number of purchasers who have earned through this business an amount
     in excess of the amount of their initial payment is at least ______,
     which represents ___ percent of the total number of purchasers of
     this seller assisted marketing plan."
        (e) If training of any type is promised by the seller, a complete
     description of the training and the length of the training.
        (f) If the seller promises services to be performed in connection
     with the placement of the equipment, product or supplies at a
     location from which they will be sold or used, the full nature of
     those services as well as the nature of the agreements to be made
     with the owner or manager of the location at which the purchaser's
     equipment, product or supplies will be placed, must be set forth.
        (g) If the seller represents orally or in writing when soliciting
     or offering for sale or lease or selling or leasing a seller assisted
     marketing plan that there is a "buy-back" arrangement or that the
     initial payment is in some manner protected from loss or "secured,"
     the entire and precise nature of the "buy-back", "protection" or
     "security" arrangement shall be completely and clearly disclosed.



     1812.206. At least 48 hours prior to the execution of a seller
     assisted marketing plan contract or agreement or at least 48 hours
     prior to the receipt of any consideration, whichever occurs first,
     the seller or his or her representative shall provide to the
     prospective purchaser in writing a document entitled "SELLER ASSISTED
     MARKETING PLAN INFORMATION SHEET." The seller may combine the
     information required under this section with the information required




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     under Section 1812.205 and, if done, shall utilize the single title
     "DISCLOSURES REQUIRED BY CALIFORNIA LAW," and the title page required
     by Section 1812.205. If a combined document is used, it shall be
     given at the time required by Section 1812.205, provided that this
     time meets the 48-hour test of this section. The information sheet
     required by this section shall contain the following:
        (a) The name of and the office held by the seller's owners,
     officers, directors, trustees and general or limited partners, as the
     case may be, and the names of those individuals who have management
     responsibilities in connection with the seller's business activities.
        (b) A statement whether the seller, any person identified in
     subdivision (a), and any other company managed by a person identified
     in subdivision (a):
        (1) Has been convicted of a felony or misdemeanor or pleaded nolo
     contendere to a felony or misdemeanor charge if the felony or
     misdemeanor involved an alleged violation of this title, fraud,
     embezzlement, fraudulent conversion or misappropriation of property.
        (2) Has been held liable in a civil action by final judgment or
     consented to the entry of a stipulated judgment if the civil action
     alleged a violation of this title, fraud, embezzlement, fraudulent
     conversion or misappropriation of property or the use of untrue or
     misleading representations in an attempt to sell or dispose of real
     or personal property or the use of unfair, unlawful or deceptive
     business practices.
        (3) Is subject to any currently effective agreement, injunction,
     or restrictive order, including, but not limited to, a "cease and
     desist" order, an "assurance of discontinuance," or other comparable
     agreement or order, relating to business activity as the result of an
     action or investigation brought by a public agency or department,
     including, but not limited to, an action affecting any vocational
     license.
        The statements required by paragraphs (1), (2) and (3) of this
     subdivision shall set forth the terms of the agreement, or the court,
     the docket number of the matter, the date of the conviction or of
     the judgment and, when involved, the name of the governmental agency
     that initiated the investigation or brought the action resulting in
     the conviction or judgment.
        (4) Has at any time during the previous seven fiscal years filed
     in bankruptcy, been adjudged a bankrupt, been reorganized due to
     insolvency, or been a principal, director, officer, trustee, general
     or limited partner, or had management responsibilities of any other
     person, as defined in subdivision (b) of Section 1812.201, that has
     so filed or was so adjudicated or reorganized, during or within one
     year after the period that the individual held that position. If so,
     the name and location of the person having so filed, or having been
     so adjudged or reorganized, the date thereof, the court which
     exercised jurisdiction, and the docket number of the matter shall be
     set forth.
        (c) The length of time the seller:
        (1) Has sold seller assisted marketing plans.
        (2) Has sold the specific seller assisted marketing plan being
     offered to the purchaser.
        (d) If the seller is required to secure a bond or establish a
     trust account pursuant to the requirements of Section 1812.204, the
     information sheet shall state either:
        (1) "Seller has secured a bond issued by




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       _________________________________________________,
              (name and address of surety company)

        a surety company admitted to do business in this state. Before
     signing a contract to purchase this seller assisted marketing plan,
     you should check with the surety company to determine the bond's
     current status," or
        (2) "Seller has deposited with the office of the Attorney General
     information regarding its trust account. Before signing a contract to
     purchase this seller assisted marketing plan, you should check with
     the Attorney General to determine the current status of the trust
     account."
        (e) A copy of a recent, not more than 12 months old, financial
     statement of the seller, together with a statement of any material
     changes in the financial condition of the seller from the date
     thereof. That financial statement shall either be audited or be under
     penalty of perjury signed by one of the seller's officers,
     directors, trustees or general or limited partners. The declaration
     under penalty of perjury shall indicate that to the best of the
     signatory's knowledge and belief the information in the financial
     statement is true and accurate; the date of signature and the
     location where signed shall also be indicated. Provided, however,
     that where a seller is a subsidiary of another corporation which is
     permitted by generally accepted accounting standards to prepare
     financial statements on a consolidated basis, the above information
     may be submitted in the same manner for the parent if the
     corresponding financial statement of the seller is also provided and
     the parent absolutely and irrevocably has agreed to guarantee all
     obligations of the seller.
        (f) An unexecuted copy of the entire seller assisted marketing
     plan contract.
        (g) For purposes of this section, "seller's owners" means any
     individual who holds an equity interest of at least 10 percent in the
     seller.


     1812.207. Every contract for sale or lease of a seller assisted
     marketing plan in this state shall be in writing and shall be subject
     to the provisions of this title. A copy of the fully completed
     contract and all other documents the seller requires the purchaser to
     sign shall be given to the purchaser at the time they are signed.




     1812.208. The purchaser shall have the right to cancel a seller
     assisted marketing plan contract for any reason at any time within
     three business days of the date the purchaser and the seller sign the
     contract. The notice of the right to cancel and the procedures to be
     followed when a contract is canceled shall comply with Section
     1812.209.



     1812.209. Every seller assisted marketing plan contract shall set
     forth in at least 10-point type or equivalent size if handwritten,
     all of the following:




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        (a) The terms and conditions of payment including the initial
     payment, additional payments, and downpayment required. If the
     contract provides for the seller to receive more than 20 percent of
     the initial payment before delivery to the purchaser of the
     equipment, supplies or products or services to be furnished under the
     terms of the contract, the contract shall clearly set forth for the
     escrow account established pursuant to subdivision (b) of Section
     1812.210 and the name and address of the escrow account holder, as
     well as the institution, branch, and account number of the escrow
     account. If the contract provides for payment of any amount in excess
     of 20 percent of the initial payment prior to delivery of the
     equipment, supplies or products or services to be furnished under the
     terms of the contract, the contract shall set forth that payment of
     the amount in excess of 20 percent shall be by separate instrument
     made payable to the escrow account.
        (b) Immediately above the place at which the purchaser signs the
     contract the following notification, in boldface type, of the
     purchaser's right to cancel the contract:

        "You have three business days in which you may cancel this
     contract for any reason by mailing or delivering written notice to
     the seller assisted marketing plan seller. The three business days
     shall expire on
     ________________________
        (last date to mail
        or deliver notice)
     and notice of cancellation should be mailed or delivered to
     ________________________.
     (seller assisted marketing
       plan seller's name and
       business street address)
     If you choose to mail your notice, it must be placed in the United
     States mail properly addressed, first-class postage prepaid, and
     postmarked before midnight of the above date. If you choose to
     deliver your notice to the seller directly, it must be delivered to
     him by the end of his normal business day on the above date. Within
     five business days of receipt of the notice of cancellation, the
     seller shall return to the purchaser all sums paid by the purchaser
     to the seller pursuant to this contract. Within five business days
     after receipt of all such sums, the purchaser shall make available at
     his address or at the place at which they were caused to be located,
     all equipment, products and supplies provided to the purchaser
     pursuant to this contract. Upon demand of the seller, such equipment,
     products and supplies shall be made available at the time the
     purchaser receives full repayment by cash, money order or certified
     check."

        (c) A full and detailed description of the acts or services the
     seller will undertake to perform for the purchaser.
        (d) The seller's principal business address and the name and the
     address of its agent, other than the Secretary of State, in the State
     of California authorized to receive service of process.
        (e) The business form of the seller, whether corporate,
     partnership or otherwise.
        (f) The delivery date or, when the contract provides for a
     staggered delivery of items to the purchaser, the approximate
     delivery date of those products, equipment or supplies the seller is




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     to deliver to the purchaser to enable the purchaser to begin or
     maintain his business and whether the products, equipment or supplies
     are to be delivered to the purchaser's home or business address or
     are to be placed or caused to be placed by the seller at locations
     owned or managed by persons other than the purchaser.
        (g) A complete description of the nature of the "buy-back",
     "protection", or "security" arrangement, if the seller has
     represented orally or in writing when selling or leasing, soliciting
     or offering a seller assisted marketing plan that there is a
     "buy-back" or that the initial payment or any part of it is
     "protected" or "secured."
        (h) A statement which accurately sets forth a purchaser's right to
     void the contract under the circumstances and in the manner set
     forth in subdivisions (a) and (b) of Section 1812.215.
        (i) The name of the supplier and the address of such supplier of
     the products, equipment, or supplies the seller is to deliver to the
     purchaser to enable the purchaser to begin or maintain his business.




     1812.210. (a) No seller assisted marketing plan contract shall
     require or entail the execution of any note or series of notes by the
     purchaser which, when separately negotiated, will cut off as to
     third parties any right of action or defense which the purchaser may
     have against the seller.
        (b) If the contract referred to in Section 1812.209 provides for a
     downpayment to be paid to the seller, the downpayment shall not
     exceed 20 percent of the initial payment amount. In no event shall
     the contract payment schedule provide for the seller to receive more
     than 20 percent of the initial payment before delivery to the
     purchaser, or to the place at which they are to be located, the
     equipment, supplies or products, unless all sums in excess of 20
     percent are placed in an escrow account as provided for in
     subdivision (c) of Section 1812.214. Funds placed in an escrow
     account shall not be released until the purchaser notifies the escrow
     holder in writing of the delivery of such equipment, supplies or
     products within the time limits set forth in the seller assisted
     marketing plan contract. Notification of delivery by the purchaser to
     the escrow holder shall not be unreasonably withheld.



     1812.211. Any assignee of the seller assisted marketing plan
     contract or the seller's rights is subject to all equities, rights
     and defenses of the purchaser against the seller.



     1812.212. No seller shall make or authorize the making of any
     reference to its compliance with this title.



     1812.213. Every seller shall at all times keep and maintain a
     complete set of books, records and accounts of seller assisted
     marketing plan sales made by the seller. All documents relating to




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     each specific seller assisted marketing plan sold or leased shall be
     maintained for four years after the date of the seller assisted
     marketing plan contract.



     1812.214. (a) Every seller of seller-assisted marketing plans other
     than a California corporation shall file with the Attorney General
     an irrevocable consent appointing the Secretary of State or successor
     in office to act as the seller's attorney to receive service or any
     lawful process in any noncriminal suit, action or proceeding against
     the seller or the seller's successor, executor or administrator,
     which may arise under this title. When service is made upon the
     Secretary of State, it shall have the same force and validity as if
     served personally on the seller. Service may be made by leaving a
     copy of the process in the office of the Secretary of State, but it
     shall not be effective unless:
        (1) The plaintiff forthwith sends by first-class mail a notice of
     the service upon the Secretary of State and a copy of the process to
     the defendant or respondent at the last address on file with the
     Attorney General; and
        (2) The plaintiff's affidavit of compliance with this section is
     filed in the case on or before the return date of the process, if
     any, or within such further time as the court allows.
        (b) If, pursuant to subdivision (c) of Section 1812.204, a seller
     must obtain a surety bond or establish a trust account, the following
     procedures apply:
        (1) If a bond is obtained, a copy of it shall be filed with the
     Attorney General; if a trust account is established, notification of
     the depository, the trustee and the account number shall be filed
     with the Attorney General.
        (2) The bond or trust account required shall be in favor of the
     State of California for the benefit of any person who is damaged by
     any violation of this title or by the seller's breach of a contract
     subject to this title or of any obligation arising therefrom. The
     trust account shall also be in favor of any person damaged by these
     practices.
        (3) Any person claiming against the trust account for a violation
     of this title may maintain an action at law against the seller and
     the trustee. The surety or trustee shall be liable only for actual
     damages and not the punitive damages permitted under Section
     1812.218. The aggregate liability of the trustee to all persons
     damaged by a seller's violation of this title shall in no event
     exceed the amount of the trust account.
        (4) The bond or the trust account shall be in an amount equal to
     the total amount of the "initial payment" section of all
     seller-assisted marketing plan contracts the seller has entered into
     during the previous year or three hundred thousand dollars
     ($300,000), whichever is less, but in no case shall the amount be
     less than fifty thousand dollars ($50,000). The amount required shall
     be adjusted twice a year, no later than the tenth day of the first
     month of the seller's fiscal year and no later than the tenth day of
     the seventh month of the seller's fiscal year. A seller need only
     establish a bond or trust account in the amount of fifty thousand
     dollars ($50,000) at the commencement of business and during the
     first six months the seller is in business. By the tenth day of the
     seller's seventh month in business, the amount of the bond or trust




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     account shall be established as provided for herein as if the seller
     had been in business for a year.
        (c) If, pursuant to subdivision (b) of Section 1812.210, a seller
     utilizes an escrow account to receive those portions of the
     downpayment in excess of 20 percent of the initial payment before
     delivery to the purchaser of the equipment, supplies or products or
     services to be furnished under the terms of the contract, the
     following procedures shall apply:
        (1) The holder of the escrow account shall be independent of the
     seller, and the seller shall not have any authority to direct
     disbursements from the escrow account by the holder except upon
     written notification by the purchaser to the holder of the escrow
     account of the delivery of the equipment, supplies, or products as
     required by and within the time limits set forth in the seller
     assisted marketing plan contract.
        (2) The name and address of the escrow account holder, the name of
     the institution, the branch and account number of the escrow account
     shall be reported to the Attorney General by the seller.
        (3) Any person claiming against the escrow account for a violation
     of this title may maintain an action at law against the seller and
     the escrow account holder. The escrow account holder shall be liable
     only for actual damages and not the punitive damages permitted under
     Section 1812.218. The aggregate liability of the escrow account
     holder to all persons damaged by a seller's violation of this title
     shall in no event exceed the amount of the escrow account.



     1812.215. (a) If a seller uses any untrue or misleading statements
     to sell or lease a seller assisted marketing plan, or fails to comply
     with Section 1812.203, or fails to give the disclosure documents or
     disclose any of the information required by Sections 1812.205 and
     1812.206, or the contract does not comply with the requirements of
     this title, then within one year of the date of the contract at the
     election of the purchaser upon written notice to the seller, the
     contract shall be voidable by the purchaser and unenforceable by the
     seller or his assignee as contrary to public policy and the purchaser
     shall be entitled to receive from the seller all sums paid to the
     seller when the purchaser is able to return all equipment, supplies
     or products delivered by the seller; when such complete return cannot
     be made, the purchaser shall be entitled to receive from the seller
     all sums paid to the seller less the fair market value at the time of
     delivery of the equipment, supplies or products not returned by the
     purchaser, but delivered by the seller. Upon the receipt of such
     sums, the purchaser shall make available to the seller at the
     purchaser's address or at the places at which they are located at the
     time the purchaser gives notice pursuant to this section, the
     products, equipment or supplies received by the purchaser from the
     seller. Provided, however, if the seller inadvertently has failed to
     make any of the disclosures required by Section 1812.205 or 1812.206
     or the contract inadvertently fails to comply with the requirements
     of this title, the seller may cure such inadvertent defect by
     providing the purchaser with the correct disclosure statements or
     contract if at the time of providing such correct disclosures or
     contract the seller also informs the purchaser in writing that
     because of the seller's error, the purchaser has an additional 15-day
     period after receipt of the correct disclosures or contract within




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     which to cancel the contract and receive a full return of all moneys
     paid in exchange for return of whatever equipment, supplies or
     products the purchaser has. If the purchaser does not cancel the
     contract within 15 days after receipt of the correct disclosures or
     contract, he may not in the future exercise his right to void the
     contract under this section due to such noncompliance with the
     disclosure or contract requirements of this title.
        (b) If a seller fails to deliver the equipment, supplies or
     product within 30 days of the delivery date stated in the contract,
     unless such delivery delay is beyond the control of the seller, then
     at any time prior to delivery or within 30 days after delivery, at
     the election of the purchaser upon written notice to the seller, the
     contract shall be voidable by the purchaser and unenforceable by the
     seller or his assignee as contrary to public policy.
        The rights of the purchaser set forth in this section shall be
     cumulative to all other rights under this title or otherwise.




     1812.216. (a) Any waiver by a purchaser of the provisions of this
     title shall be deemed contrary to public policy and shall be void and
     unenforceable. Any attempt by a seller to have a purchaser waive
     rights given by this title shall be a violation of this title.
        (b) In any proceeding involving this title, the burden of proving
     an exemption or an exception from a definition is upon the person
     claiming it.



     1812.217. Any person, including, but not limited to, the seller, a
     salesman, agent or representative of the seller or an independent
     contractor who attempts to sell or lease or sells or leases a seller
     assisted marketing plan, who willfully violates any provision of this
     title or employs, directly or indirectly, any device, scheme or
     artifice to deceive in connection with the offer or sale of any
     seller assisted marketing plan, or willfully engages, directly or
     indirectly, in any act, practice or course of business which operates
     or would operate as a fraud or deceit upon any person in connection
     with the offer, purchase, lease or sale of any seller assisted
     marketing plan shall, upon conviction, be fined not more than ten
     thousand dollars ($10,000) for each unlawful transaction, or
     imprisoned in the state prison, or imprisoned in county jail for not
     more than one year, or be punished by both such fine and
     imprisonment.


     1812.218. Any purchaser injured by a violation of this title or by
     the seller's breach of a contract subject to this title or of any
     obligation arising from the sale or lease of the seller assisted
     marketing plan may bring any action for recovery of damages. Judgment
     shall be entered for actual damages, plus reasonable attorney's fees
     and costs, but in no case shall the award of damages be less than
     the amount of the initial payment provided the purchaser is able to
     return all the equipment, supplies or products delivered by the
     seller; when such complete return cannot be made, the minimum award
     shall be no less than the amount of the initial payment less the fair




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     market value at the time of delivery of the equipment, supplies or
     products that cannot be returned but were actually delivered by the
     seller. An award, if the trial court deems it proper, may be entered
     for punitive damages.



     1812.219. The provisions of this title are not exclusive. The
     remedies provided herein for violation of any section of this title
     or for conduct proscribed by any section of this title shall be in
     addition to any other procedures or remedies for any violation or
     conduct provided for in any other law.
        Nothing in this title shall limit any other statutory or any
     common law rights of the Attorney General, any district attorney or
     city attorney, or any other person. If any act or practice proscribed
     under this title also constitutes a cause of action in common law or
     a violation of another statute, the purchaser may assert such common
     law or statutory cause of action under the procedures and with the
     remedies provided for in such other law.



     1812.220. If any provision of this act or if any application
     thereof to any person or circumstance is held unconstitutional, the
     remainder of the title and the application of such provision to other
     persons and circumstances shall not be affected thereby.




     1812.221. (a) When a deposit has been made in lieu of bond pursuant
     to paragraph (1) of subdivision (b) of Section 1812.214 and Section
     995.710 of the Code of Civil Procedure, the person asserting a claim
     against the deposit shall, in lieu of the provisions of Section
     996.430 of the Code of Civil Procedure, establish the claim by
     furnishing evidence to the Attorney General of a money judgment
     entered by a court together with evidence that the claimant is a
     person described in paragraph (2) of subdivision (b) of Section
     1812.214.
        (b) When a person has completely established the claim with the
     Attorney General, the Attorney General shall forthwith review and
     approve the claim and enter the date of approval thereon. The claim
     shall be designated an "approved claim. "
        (c) When the first claim against a particular deposit account has
     been approved, it shall not be paid until the expiration of a period
     of 240 days after the date of its approval by the Attorney General.
     Subsequent claims which are approved by the Attorney General within
     the same 240-day period shall similarly not be paid until the
     expiration of the 240-day period. Forthwith upon the expiration of
     the 240-day period, the Attorney General shall pay all approved
     claims from that 240-day period in full unless there are insufficient
     funds in the deposit account in which case each approved claim shall
     be paid a proportionate amount to exhaust the deposit account.
        (d) When the Attorney General approves the first claim against a
     particular deposit account after the expiration of a 240-day period,
     the date of approval of that claim shall begin a new 240-day period
     to which subdivision (c) shall apply with respect to the amount




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     remaining in the deposit account.
        (e) After a deposit account is exhausted, no further claims shall
     be paid by the Attorney General. Claimants who have had their claims
     paid in full or in part pursuant to subdivisions (c) and (d) shall
     not be required to make a contribution back to the deposit account
     for the benefit of other claimants.
        (f) When a deposit has been made in lieu of bond, the amount of
     the deposit shall not be subject to attachment, garnishment, or
     execution with respect to an action or judgment against the seller,
     other than as to an amount as no longer needed or required for the
     purpose of this title which would otherwise be returned to the seller
     by the Attorney General.

     Civil Code Section

     1770. (a) The following unfair methods of competition and unfair or
     deceptive acts or practices undertaken by any person in a
     transaction intended to result or which results in the sale or lease
     of goods or services to any consumer are unlawful:
        (1) Passing off goods or services as those of another.
        (2) Misrepresenting the source, sponsorship, approval, or
     certification of goods or services.
        (3) Misrepresenting the affiliation, connection, or association
     with, or certification by, another.
        (4) Using deceptive representations or designations of geographic
     origin in connection with goods or services.
        (5) Representing that goods or services have sponsorship,
     approval, characteristics, ingredients, uses, benefits, or quantities
     which they do not have or that a person has a sponsorship, approval,
     status, affiliation, or connection which he or she does not have.
        (6) Representing that goods are original or new if they have
     deteriorated unreasonably or are altered, reconditioned, reclaimed,
     used, or secondhand.
        (7) Representing that goods or services are of a particular
     standard, quality, or grade, or that goods are of a particular style
     or model, if they are of another.
        (8) Disparaging the goods, services, or business of another by
     false or misleading representation of fact.
        (9) Advertising goods or services with intent not to sell them as
     advertised.
        (10) Advertising goods or services with intent not to supply
     reasonably expectable demand, unless the advertisement discloses a
     limitation of quantity.
        (11) Advertising furniture without clearly indicating that it is
     unassembled if that is the case.
        (12) Advertising the price of unassembled furniture without
     clearly indicating the assembled price of that furniture if the same
     furniture is available assembled from the seller.
        (13) Making false or misleading statements of fact concerning
     reasons for, existence of, or amounts of price reductions.
        (14) Representing that a transaction confers or involves rights,
     remedies, or obligations which it does not have or involve, or which
     are prohibited by law.
        (15) Representing that a part, replacement, or repair service is
     needed when it is not.
        (16) Representing that the subject of a transaction has been
     supplied in accordance with a previous representation when it has




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     not.
        (17) Representing that the consumer will receive a rebate,
     discount, or other economic benefit, if the earning of the benefit is
     contingent on an event to occur subsequent to the consummation of
     the transaction.
        (18) Misrepresenting the authority of a salesperson,
     representative, or agent to negotiate the final terms of a
     transaction with a consumer.
        (19) Inserting an unconscionable provision in the contract.
        (20) Advertising that a product is being offered at a specific
     price plus a specific percentage of that price unless (A) the total
     price is set forth in the advertisement, which may include, but is
     not limited to, shelf tags, displays, and media advertising, in a
     size larger than any other price in that advertisement, and (B) the
     specific price plus a specific percentage of that price represents a
     markup from the seller's costs or from the wholesale price of the
     product. This subdivision shall not apply to in-store advertising by
     businesses which are open only to members or cooperative
     organizations organized pursuant to Division 3 (commencing with
     Section 12000) of Title 1 of the Corporations Code where more than 50
     percent of purchases are made at the specific price set forth in the
     advertisement.
        (21) Selling or leasing goods in violation of Chapter 4
     (commencing with Section 1797.8) of Title 1.7.
        (22) (A) Disseminating an unsolicited prerecorded message by
     telephone without an unrecorded, natural voice first informing the
     person answering the telephone of the name of the caller or the
     organization being represented, and either the address or the
     telephone number of the caller, and without obtaining the consent of
     that person to listen to the prerecorded message.
        (B) This subdivision does not apply to a message disseminated to a
     business associate, customer, or other person having an established
     relationship with the person or organization making the call, to a
     call for the purpose of collecting an existing obligation, or to any
     call generated at the request of the recipient.
        (23) The home solicitation, as defined in subdivision (h) of
     Section 1761, of a consumer who is a senior citizen where a loan is
     made encumbering the primary residence of that consumer for the
     purposes of paying for home improvements and where the transaction is
     part of a pattern or practice in violation of either subsection (h)
     or (i) of Section 1639 of Title 15 of the United States Code or
     subsection (e) of Section 226.32 of Title 12 of the Code of Federal
     Regulations.
        A third party shall not be liable under this subdivision unless
     (A) there was an agency relationship between the party who engaged in
     home solicitation and the third party or (B) the third party had
     actual knowledge of, or participated in, the unfair or deceptive
     transaction. A third party who is a holder in due course under a home
     solicitation transaction shall not be liable under this subdivision.
        (24) (A) Charging or receiving an unreasonable fee to prepare,
     aid, or advise any prospective applicant, applicant, or recipient in
     the procurement, maintenance, or securing of public social services.
        (B) For purposes of this paragraph, the following definitions
     shall apply:
        (i) "Public social services" means those activities and functions
     of state and local government administered or supervised by the State
     Department of Health Care Services, the State Department of Public




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     Health, or the State Department of Social Services, and involved in
     providing aid or services, or both, including health care services
     and medical assistance, to those persons who, because of their
     economic circumstances or social condition, are in need of that aid
     or those services and may benefit from them.
        (ii) "Unreasonable fee" means a fee that is exorbitant and
     disproportionate to the services performed. Factors to be considered,
     when appropriate, in determining the reasonableness of a fee, are
     based on the circumstances existing at the time of the service and
     shall include, but not be limited to, all of the following:
        (I) The time and effort required.
        (II) The novelty and difficulty of the services.
        (III) The skill required to perform the services.
        (IV) The nature and length of the professional relationship.
        (V) The experience, reputation, and ability of the person
     providing the services.
        (C) Paragraph (24) shall not apply to attorneys licensed to
     practice law in California, who are subject to the California Rules
     of Professional Conduct and to the mandatory fee arbitration
     provisions of Article 13 (commencing with Section 6200) of Chapter 4
     of Division 3 of the Business and Professions Code, when the fees
     charged or received are for providing representation in
     administrative agency appeal proceedings or court proceedings for
     purposes of procuring, maintaining, or securing public social
     services on behalf of a person or group of persons.
        (b) (1) It is an unfair or deceptive act or practice for a
     mortgage broker or lender, directly or indirectly, to use a home
     improvement contractor to negotiate the terms of any loan that is
     secured, whether in whole or in part, by the residence of the
     borrower and which is used to finance a home improvement contract or
     any portion thereof. For purposes of this subdivision, "mortgage
     broker or lender" includes a finance lender licensed pursuant to the
     California Finance Lenders Law (Division 9 (commencing with Section
     22000) of the Financial Code), a residential mortgage lender licensed
     pursuant to the California Residential Mortgage Lending Act
     (Division 20 (commencing with Section 50000) of the Financial Code),
     or a real estate broker licensed under the Real Estate Law (Division
     4 (commencing with Section 10000) of the Business and Professions
     Code).
        (2) This section shall not be construed to either authorize or
     prohibit a home improvement contractor from referring a consumer to a
     mortgage broker or lender by this subdivision. However, a home
     improvement contractor may refer a consumer to a mortgage lender or
     broker if that referral does not violate Section 7157 of the Business
     and Professions Code or any other provision of law. A mortgage
     lender or broker may purchase an executed home improvement contract
     if that purchase does not violate Section 7157 of the Business and
     Professions Code or any other provision of law. Nothing in this
     paragraph shall have any effect on the application of Chapter 1
     (commencing with Section 1801) of Title 2 to a home improvement
     transaction or the financing thereof.




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